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      # 155835197   E-Filed 08/22/2022 04:13:26 PM



                    IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT,
                           IN AND FOR PALM BEACH COUNTY, FLORIDA.

                                              CIRCUIT CIVIL

       KRISTA ROSENBERG, M.D.,                                        CASE NO.:

               Plaintiff,
       vs.

       RELIANCE STANDARD
       INSURANCE COMPANY,

               Defendant.
                                       /


                                             COMPLAINT

               Plaintiff, KRISTA ROSENBERG, M.D., by and through undersigned counsel, hereby

       files this her Complaint against Defendant, RELIANCE STANDARD INSURANCE

       COMPANY, and says:

               1.      This is an action for damages in excess of Thirty Thousand Dollars

       ($30,000.00).

               2.      The Plaintiff, KRISTA ROSENBERG, M.D. (hereinafter “ROSENBERG” or

       “Plaintiff”), is a resident of Boca Raton, Palm Beach, County, Florida and is, in all respects,

       sui juris.

               3.      Defendant, RELIANCE STANDARD INSURANCE COMPANY, (hereinafter

       “RELIANCE” or “Defendant”), is a foreign corporation doing business in Florida and can

       be found in Florida.

               4.      RELIANCE issued and delivered a Group Long Term Disability Policy

       (#LTD124706) (hereinafter as “Disability Policy” or “Policy”) to Retina Vitreous

       Consultants, LLP d/b/a Retina Group of Florida (hereinafter “The Retina Group” or
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                                                                                                  COMPLAINT



  “Group”), in the State of Florida, effective December 1, 2013. (The Disability Policy is

  attached hereto as Exhibit “A.”).

          5.       ROSENBERG, a former full-time Owner/Physician of The Retina Group, is an

  insured person under the policy.

          6.       Neither the Disability Policy nor these claims are subject to the Employment

  Retirement Income Security Act (“ERISA”) 29 U.S.C. §1001 et, seq. in that the policy was not

  issued as part of an employee welfare benefit plan and are thus exempt from ERISA.

          7.       The purpose of the Disability Policy was to provide ROSENBERG a monthly

  loss of income benefit in the event that she became totally disabled, defined as:

                      Totally Disabled” and “Total Disability” as defined by the
                   Policy means that as a result of injury or sickness, during the
                   Elimination Period and thereafter you cannot perform the
                   substantial and material duties of your regular occupation.1

  (See Exhibit A, Page 2.2.)

          8.       ROSENBERG suffers from, among other things, continuing symptomatology

  from a collapsed lung/pneumothorax, including fatigue, shortness of breath and pain.

          9.       As of November 19, 2020, ROSENBERG has been unable to perform the

  substantial and material duties of her regular occupation as a vitreoretinal surgeon due to

  her disabling condition. ROSENBERG is clearly totally disabled under the terms of the

  Disability Policy.




  1
   “Regular Occupation” means the occupation you are routinely performing when Total Disability begins. We will look
  at your occupation as it is normally performed in the national economy, and not the unique duties performed for a
  specific employer or in a specific locale.

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           10.      On or about May 20, 2021, ROSENBERG notified Defendant that she was

  totally disabled.

           11.      By letter dated September 30, 2021, RELIANCE denied coverage for Plaintiff’s

  claim asserting that because Plaintiff’s employer (The Retina Group) paid the Plaintiff her

  earnings to her pass-through Subchapter S Corporation rather than to her directly, “there

  are no eligible earnings upon which to base a benefit in accordance with your group’s LTD

  (Long Term Disability) Policy definition of Covered Monthly Earnings.” (RELIANCE’S

  September 30, 2021, denial letter is attached hereto as Exhibit “B.”).

           12.      By letter dated March 3, 2022, ROSENBERG, through counsel, appealed

  Defendant’s improper denial of coverage. (Counsel’s March 3, 2022, letter is attached hereto

  as Exhibit “C.”). The appeal letter explains that Defendant’s interpretation of the definition

  of “Covered Monthly Earnings”2 to deny benefits to Plaintiff merely because her income

  from the group practice passed through her Subchapter S Corporation is contrary to the

  Policy and Florida law.

           13.      The letter further explains that Defendant denied coverage even though the

  definition of Covered Monthly Earnings includes an insureds’ “basic monthly salary” and




  2
   “Covered Monthly Earnings” means your basic monthly salary received from the Policyholder on the day just before
  the date of Total Disability, prior to any deductions to a 401(k) and Section 125 plan. Covered Monthly Earnings does
  not include commissions, overtime pay, incentive pay, or any other special compensation not received as Covered
  Monthly Earnings. However, “Covered Monthly Earnings” will include bonuses received from the Policyholder averaged
  over the lesser of: (1) the number of months worked; or (2) the 36 months; just prior to the date Total Disability began.
  and “Covered Monthly Earnings” means your compensation from the partnership averaged over the lesser of: (1) the
  number of months worked; or (2) the 36 months; in the calendar year(s) prior to the date Total Disability began, as
  reported on the partnership federal income tax return (Ki) as “net earnings (loss) from self-employment”.

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                                                                                   COMPLAINT



  the absence of any policy provision which either excludes pass-through income to a

  Subchapter S Corporation or limits “basic monthly salary” to W-2 wages.

           14.   Finally, the letter explains that the Policy was sold to The Retina Group by a

  licensed and appointed agent of RELIANCE, and that RELIANCE’s agent knew at the time

  of application for the Policy that ROSENBERG and each of the other co-owner physicians of

  the group had established their own Subchapter S Corporation as a pass-through entity.

           15.   Defendant did not respond to counsel’s March 3, 2022, letter of appeal.

           16.   Although Defendant has since agreed to amend the Policy to clarify that

  Plaintiff, and the Subchapter S-Corporations of the other physician owners in the Group are

  indeed insureds, Defendant continues to deny Plaintiff’s claim for total disability benefits.

           17.   ROSENBERG has exhausted all the administrative remedies under the Policy,

  or they have been waived or excused.

           18.   ROSENBERG has complied with all conditions precedent to this action, or

  they have been excused or waived.

           19.   ROSENBERG has been forced to retain the services of undersigned counsel in

  order to prosecute this action and is obligated to pay attorneys’ fees on a contingent fee

  basis.

                                           COUNT I
                                   DECLARATORY RELIEF

           Plaintiff, KRISTA ROSENBERG, M.D., hereby adopts, realleges and reaffirms each

  and every allegation contained in paragraphs 1 through 19 of this Complaint as though fully

  alleged herein and further alleges:

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         20.   This is an action for Declaratory Relief pursuant to Chapter 86 of the Florida

  Statutes.

         21.   RELIANCE has denied coverage to ROSENBERG on the basis that

  ROSENBERG had no eligible earnings upon which to base a benefit as her earnings first

  passed through her Subchapter S Corporation.

         22.   ROSENBERG contends that the policy provides coverage, notwithstanding

  the manner in which her earnings were paid.

         23.   On the facts of this case, the Plaintiff, ROSENBERG, is in doubt as to her rights

  under the terms and provisions of the subject insurance policy and Florida law.

         24.   The parties have an actual, present and bona fide dispute as to whether the

  policy provides coverage for ROSENBERG’s claim.


         WHEREFORE, KRISTA ROSENBERG, M.D. respectfully requests that this Court:

               A. Take jurisdiction over this matter for the purposes of rendering a
                  declaratory decree;
               B. Having taken jurisdiction, enter an Order declaring that the subject
                  insurance policy provides coverage for ROSENBERG’s claim.
               C. Require RELIANCE to indemnify ROSENBERG for any and all benefits
                  due and owing under the policy;
               D. Grant such other relief as the Court deems proper; and
               E. Retain jurisdiction over the parties and the subject matter to assess
                  reasonable attorneys’ fees and costs to ROSENBERG’s counsel and assess
                  any and all penalties this Court deems meet and just.




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         WHEREFORE, Plaintiff, KRISTA ROSENBERG, M.D., respectfully requests this

  Honorable Court to enter declaratory judgment in its favor and against RELIANCE

  STANDARD INSURANCE COMPANY, and award damages, costs, and attorneys’ fees

  pursuant to Florida Statute §627.428 and/or §627.6698, pre-judgment interest on all

  liquidated sums, and demands a trial by jury of all issues so triable.


                                            COUNT II
                      BREACH OF CONTRACT – DISABILITY POLICY

         Plaintiff, KRISTA ROSENBERG, M.D., incorporates the allegations contained in

  Paragraphs 1 through 19 as if fully stated herein and says further the following:

         25.    Based on the foregoing, Defendant has breached the contract of insurance and

  Plaintiff is entitled to the Disability Policy benefits consisting of past long-term disability

  benefits including prejudgment interest, retroactive to the day benefits were denied.

         26.    As a direct and proximate result, Plaintiff is entitled to the benefits identified

  herein because:

                a. The benefits are permitted benefits under the Disability Policy;

                b. Plaintiff has satisfied all conditions to be eligible to receive the benefits;
                   and

                c. Plaintiff has not waived or otherwise relinquished her entitlement to the
                   benefits.


         WHEREFORE, Plaintiff, KRISTA ROSENBERG, M.D., prays for judgment for

  damages against Defendant, RELIANCE STANDARD INSURANCE COMPANY, together




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                                                                                     COMPLAINT



  with prejudgment interest, costs and attorneys’ fees pursuant to F.S. §627.428 and/or

  §627.6698, and demands a trial by jury as to all issue so triable.


         Respectfully submitted this 22nd day of August, 2022.

                                                    BENRUBI LAW, P.A.
                                                    6501 Congress Avenue, Suite 118
                                                    Boca Raton, FL 33487
                                                    Office: (561) 910-8650
                                                    Email: Rbenrubi@benrubilaw.com
                                                    Secondary: cgarcia@benrubilaw.com
                                                    Counsel for Plaintiff
                                                    By: /s/ Richard M. Benrubi                .
                                                       RICHARD M. BENRUBI, ESQ.
                                                       Florida Bar No.: 796573

                                                    LIGGIO & CORNELL, P.A.
                                                    1615 Forum Place, Suite 3B
                                                    West Palm Beach, FL 33401
                                                    Office: (561) 616-3333
                                                    Fax: (561) 616-3266
                                                    Email: jliggio@liggiolaw.com
                                                    Co-Counsel for Plaintiff

                                                    By: /s/ Jeffrey M. Liggio .
                                                       JEFFREY M. LIGGIO, ESQ.
                                                       Florida Bar No.: 357741




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From:                              Krista < prosen2908@aol.com >
Sent:                              April 19, 2021 2:03 PM
To:                                Rubin, Amy S.; Burack, Seth B.
Subject:                           [EXT) Fw: Reliance insurance
Attachments:                       Reliance Standard Life (Doctors policy).pdf
                                                                                 EXHIBIT "A"

Here is the reliance policy
Thanks
Krista Rosenberg



Sent from the all new AOL app for iOS




On Tuesday, April 13, 2021, 12:20 PM,

         Hi Dr. Rosenberg,




         Please see attached LTD policy.




         Thank you.




         Kind regards,




            0       Retina Group
                    of Florida�



                                                             1
                                                       EXHIBIT "A"
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   From: Krista <prosen2908@aol.com>
   Sent: Tuesday, April 13, 2021 10:43 AM
   To:
   Subject: Reliance insurance




   [EXTERNAL] Caution: This email originated from outside of the organization.




   Can you please send me our full contract and policy with reliance disability insurance?

   Thank you

   Krista



   Sent from the all new AOL app for iOS




                                                                      2
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                                                                                 )0

                                                     ._                  ‘

          GROUP LONG TERM DISABILITY
          INSURANCE PROGRAM




            Retina Vitreous Consultants, LLP dba
                   Retina Group of Florida




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                         RELIANCE STANDARD LIFE
                          INSURANCE COMPANY
                            Home Office: Chicago, Illinois
                   Administrative Office: Philadelphia, Pennsylvania

                              CERTIFICATE OF INSURANCE

          We certify that the Person whose name appears on the enrollment card
          attached to this Certificate is insured for the benefits which apply to
          his/her class, under Group Policy No. LTD 124706 issued to Retina
          Vitreous Consultants, LLP dba Retina Group of Florida, the Policyholder.

          This Certificate is not a contract of insurance. It contains only the major
          terms of insurance coverage and payment of benefits under the Policy. It
          replaces all certificates that may have been issued to you earlier.


                  eflJL�� Secretary
                                                   QuAotet Pzt)tu(,,a_.
                                                           President


              GROUP LONG TERM DISABILITY INSURANCE CERTIFICATE


                   If you have any questions about your insurance, or
                        need assistance, please call (877) 268-7606.




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                                SCHEDULE OF BENEFITS

          EFFECTIVE DATE: December 1, 2013

          ELIGIBLE CLASSES: Each active, Full-time Owner/ Physican, except
          any person employed on a temporary or seasonal basis, who:

              (1) is engaged in a non-hazardous occupation; and
              (2) functions primarily in an office environment.

          WAITING PERIOD:       90 days of continuous employment.

          YOUR EFFECTIVE DATE: The first of the month coinciding with or next
          following completion of the Waiting Period.

          INDIVIDUAL REINSTATEMENT: 6 months

          LONG TERM DISABILITY BENEFIT

          ELIMINATION PERIOD: 90 consecutive days of Total Disability.

          MONTHLY BENEFIT: The Monthly Benefit is an amount equal to 60%
          of Covered Monthly Earnings.

          To figure this benefit amount payable:
              (1) multiply your Covered Monthly Earnings by the benefit
                   percentage(s) shown above;
               (2) take the lesser of the amount:
                   (a) of step (1) above; or
                   (b) the Maximum Monthly Benefit shown below; and
               (3) subtract Other Income Benefits, as shown below, from step (2),
                   above.

          We will pay at least the Minimum Monthly Benefit as follows.

          OTHER INCOME BENEFITS: Other Income Benefits are:
             (1) disability income benefits you receive because of your Total
                  Disability under any group insurance plan(s);
             (2) disability income benefits you are eligible to receive because
                  of your Total Disability under any governmental retirement
                  system, except benefits payable under a federal government
                  employee pension benefit;
             (3) all benefits (except medical or death benefits) including any
                  settlement made in place of such benefits (whether or not
                  liability is admitted) you are eligible to receive because of your
                  Total disability under:
                  (a) Workers' Compensation Laws;
                  (b) occupational disease law;
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                         (c) any other        Ms        laws
                                                         •             of I.like intent      y
                                                                                                     as (a) or (b) above; and                    ,
                         (d) any compulsory benefit law;                    .             JI
                 (4)     any of the       •       following   ▪       I that-% you are entitled          1111           to receive:
                         (a) wages, salary or other compensation,
                                        -              -    •                          t                         .os     • j           excluding the
                                  amount
                                   •                   allowable
                                                              B                        when engaged in Rehabilitative                        • I W .     ru
                                  •Employment;         _ and
                         (b) commissions        i                   or monies -1                from_i the        : 1   Policyholder,
                                                                                                                            L ii _                 including
                                                                                                                                                          16

                                  vested    - renewal    a               commissions,
                                                                          -        i I               d but,      I excluding commissions
                                                                                                                            •       is                 •
                                  or monies     . - r that        •t you earned     • , MB prior      t I           to Total
                                                                                                                    I          •X
                                                                                                                                    Disability
                                                                                                                                           -mai          which
                                                                                                                                                           II

                                  are paid after Total Disability has begun;
                                     t           •       L                      i          il                            1
                 (5- )   that
                         II        partt of Idisability
                                                     •tant               benefitst •I          paid
                                                                                               I         fort by  - t the% Policyholder
                                                                                                                                     B   •
                                                                                                                                                      I which

                         you are eligible 1[to receive because of your Total disability
                            .   _                    -                               •                      I     I                          A.          a Ari

                         under
                            1      NI a groupi -          retirement
                                                           i                       1 plan;
                                                                                         I r and
                 (6)     thatI part of Retirement Benefits paid for by the Policyholder
                                •      di          F     -        •       -         I
                         which you are eligible                     1     Jr._ to receive      t               under
                                                                                                                  Ci          a group  _I       retirement
                                                                                                                                                 - ri •

                         plan;.-- and-
                 (7)     disability
                               1d '           or IRetirement
                                                         i• ' .                  Benefits
                                                                                     • ..0 under              1 the   •     United
                                                                                                                              a 1 i      States Social
                         Security Act, the Canadian pension plans, or any
                                -       •                     1 I                I                        i     i          IL                   II       other
                         government plan for which:
                                     • •      •


                          (a) you are eligible to receive because of            _•11,        •   r                       • your Total      I        Disability
                                   or eligibility for Retirement
                                                  1 1
                                                                                     t • - • Benefits;
                                                                                                   [           •
                                                                                                               •        and
                          (b) your      •    dependents
                                              -                             are eligible
                                                                                       1        -1    to
                                                                                                       •      receive   ■ml due • •   to
                                                                                                                                       •    (a) above.
                                                                                                                                                   • I_ I



          Disability
           .101       and early Retirement
                                  t #
                                              Benefits will be offset
                                                                 •    only
                                                                        •  if such benefits
                                                                                    •
          are• elected
                WEB •    by you orI Iif election would not reduce the amount of your
                       L _     _

          •accrued normal
                      _-    Retirement
                             -11_          Benefits then funded.

          Retirement
           -4 —      Benefits
                     imm_s r; under
                                 1   number (7) above will not apply to disabilities
          which begin after age 70 if you are• already
                                                 •1-      receiving Social Security
          Retirement Benefits while continuing to work Ibeyond age 70.
                           • I -   •




          MINIMUM MONTHLY     1   BENEFIT: InI no event will the Monthly Benefit
                                                                             •

          payable to you be less than $100.
             •




          MAXIMUM
           L    4   MONTHLY
                        -       BENEFIT: $10,000 (this is equal to a maximum
          Covered
            • I   Monthly
                  U   I   Earnings
                            t_     of $16,667).




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          MAXIMUM DURATION OF BENEFITS: Benefits will not accrue beyond
          the longer of: the Duration of Benefits; or Normal Retirement Age;
          specified below:
                  Age at Disablement              Duration of Benefits (in years)

                       61 or less                           To Age 65
                           62                                  3½
                           63                                   3
                           64                                  2½
                           65                                   2
                           66                                  1¾
                           67
                           67                                  1½
                           68                                  1¼
                       69 or more                               1

                                             OR

          Normal Retirement Age as defined by the 1983 Amendments to the
          United States Social Security Act and determined by your year of birth,
          as follows:

                      Year of Birth                    Normal Retirement Age

                     1937 or before                          65 years
                         1938                          65 years and 2 months
                         1939                          65 years and 4 months
                         1940                          65 years and 6 months
                         1941                          65 years and 8 months
                         1942                          65 years and 1 0 months
                     1943 thru 1954                          66 years
                         1955                          66 years and 2 months
                         1956                          66 years and 4 months
                         1957                          66 years and 6 months
                         1958                          66 years and 8 months
                         1959                          66 years and 10 months
                     1960 and after                          67 years

          CHANGES IN MONTHLY BENEFIT: Increases in the Monthly Benefit
          are effective on the date of the change, provided you are Actively at
          Work on the effective date of the change. If you are not Actively at Work
          on that date, the effective date of the increase in the benefit amount will
          be deferred until the date you return to Active Work. Decreases in the
          Monthly Benefit are effective on the date the change occurs.



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          CONTRIBUTIONS: You are not required
                                      NE ■
                                              to contribute toward the cost of
          this insurance.
          •
                    •




          Premium
          I  • •  contributions
                     t   1      will not be Lincluded
                                                . 1 Jin your gross income.
          For purposes of filing
                           II
                                   your Federal Income Tax IReturn, this means that
          under the law as of the date the Policy was
             a   1 1 a  1
                                                        issued, your Monthly
                                                      ' r!            I . 1 • Benefit
          might be treated as n taxable.
                                 •         It is recommended that you contact• your
          personal tax advisor.
                              1




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                                                                             DEFINITIONS
                                                                             -

          "You",
              •
                  "your" _s
                         and "yours"
                                  •    means
                                         •   •   a person who meets the     • Eligibility
                                                                                   Ewe
          Requirements
           -   • 'I      of the Policy and
                                •      Er' is enrolled
                                               •   t   for this
                                                           f t I insurance.

          "We",
          I I I "us"
                  • and
                     -  "our"
                          •   means
                               a    Reliance
                                     -     ••_ Standard
                                                   .    Life
                                                        _    Insurance
                                                                   _ . Company.
                                                                       _

           "Actively
             • •   — at — Work".1
                                   t
                                     and "Active
                                             I
                                                       Work"—
                                                                   mean
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                                                 1
                                                 101     M t   I I                             II    place
                                                                                                      I•     where
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           and 1the manner
                       _ a • Iin which .-•        •the job
                                                       I      is normally r     performed.
                                                                                 -      I     I This  i N includes
                                                                                                              . i I.
           approved
              .11 • B Itime  11 off 1such as   I vacation,
                                                     • 9' — ijury duty  P. andi • iffuneral
                                                                                          - -. leave,
                                                                                                  '.I     but does
                          I
           not include time off as a result of an Injury or Sickness.
                    • I.                             r    •           t           B '1   •

          "Claimant"
             •       means you made a claim —for benefits
                                                      —         under the Policy
                                                                              1. for a
          loss covered by the iPolicy as a result of your Injury or Sickness.
          •
            "Covered Monthly Earnings" means your basic monthly salary received
                    10.           i       ii                     I       I   —    NW      1        --   •   i i   ....'..—   •   —   .;

          •
           from t thet 11 Policyholder -on the day
                          —   I                .■       I just
                                                             _ _ _before the
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                                                                     t
                                                                                   .• of -TotalI Disability,
                                                                             - Idate           r     _. _ . 1
           Iprior
             • r tot - any deductionsI    .1   to a 401 •     (k) and
                                                                    I    Section
                                                                           s_ • 4, 125
                                                                                     - I plan. ft.   ICovered•
                                                                                       •
            Monthly
               a1        Earnings
                         _.la • I does _-    not include
                                                   • a ' commissions, tat z. overtime pay, incentive
          Ipay _ or any other special compensation
                               - -                  —
                                                      1     IB
                                                          •• •      not1 received - as Covered
                                                                                             t —        Monthly
                                                                                                          .. I

            Earnings.
                   • • However,
                             IN •         "Covered
                                          '1     • _ I Monthly
                                                          i. 1.       •Earnings"
                                                                         ' I - will   Bli include
                                                                                            P      - bonuses
                                                                                                           i -
           receivedI from
          I -    •        r      the Policyholder averaged
                                 •           .        •        .1 m   over the lesser of:
                                                                              NO I.  • -

                    (1) the number of months
                          1           • • m worked; or
                                                    •


                    (2) the 36 months;

          just prior to the date
                              am Total Disability
                                       _I I  II I began.                     —




          and

          "Covered Monthly Earnings"
                                   t        means
                                                L   your compensation from the
          partnership averaged over the lesser of:
              (1) the number of months worked; or
              (2) the 36 months;
          in the
             a    calendar
                        •    year(s) prior to the date Total Disability began, as
          reported on the partnership
                                  m—§     federal income tax return (K1) as "net
          earnings (loss) from self-employment".
                                                                                      •
          If you were not  -.    a Ipartner
                                       [   a during
                                                  • I 1the
                                                         . calendar
                                                              z I      year
                                                                        • • prior to
                                                                                   • the        date
                                                                                                  IN B TotalI
          Disability began,
           I    I   •   I     il      "Covered Monthly Earnings"
                                                            s     • Oa      means your average
                                                                                      •       •

          monthly
              I I •   compensation
                       I _1    '     2 1. I (excluding
                                              I   I I - dividends,
                                                           I      -    capital
                                                                           k. • gains
                                                                                 -4 - and I. I return  •  of
          capital) from the _Olt     partnership  I  prior
                                                        i t to the
                                                                 t  date Total —Disability
                                                                        L Ti
                                                                                        r       •   1 began,
               _
          determined      in accordance   4 - with   the terms of your partnership  II agreement.
                                                     r_                         _
                    o                           -                                           '          s •


          "Elimination   Period" means a period of consecutive days of Total
           •
               •   ls
                                  I
          Disability, as- shown on the Schedule of Benefits
                                                      •-    page, for which no
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            ■     i. payable.
               • is
          benefit     •    -  ItEl begins
                                      ■   on the first day of Total Disability.
                                             L • 11.r




          Interruption
                 1   I      Period:
                             - •    If, during
                                            •■
                                                     MI Elimination
                                                   the  I
                                                               I. I        Period,
                                                                             II    6 you return
                                                                                              i      to Active
                                                                                                     •


          Work for less than 30 days, then the same or related Total Disability will
              -M       16. _
                              L          11.  •         I ,          • I        LIM
          be treated as continuous.      I      Days   that you
                                                  111 NM           I are Actively   .1 at
                                                                                       I  Work  1  during this•
          interruption
          Ir                period willI not.1 count •         I El • the
                                                          towards        •   Elimination
                                                                             r •              •Period. This
          interruption of the Elimination Period will not apply to you                    1 if you become
          eligible under any other     _I group
                                            I    • long termI.      disability
                                                                       1 L •     insurance      plan.
                                                                                                  6•

                                                  - I II-. for
          "Full-time" means working for the- Policyholder  I-       • ' of
                                                               a minimum    ' hours
                                                                         I 40
          during your regular work week.

          "Hospital" or "Institution"
                             I Jr ■
                          MI N        means
                                        -  • a• facility
                                                 EL 1 IL licensed to provide care and
                    R
                I
          Treatment for                       g
                       • the condition causin your Total •   Disability.
                                                             I    •



          "Injury" means
                     _ •
                              bodily Injury resulting
                                                    I      directly •from an accident,
          independent
             •    r   _ of all other causes.
                                         L. •     The Injury must
                                                                -             t ' IDisability
                                                                      cause Total
          which
          ■  • 1
                           1 your
                 begins while
                      r
                                   9 insurance
                                     1        I - coverage
                                                    - •             effect.
                                                            Iis_IinIJ


          "Ph•ysician"
                   •—• means II      IAy licensed
                                  a dul    ' , • ' practitioner
                                                     I           I   - who is reco
                                                                           1          • gnized
                                                                                            _
                                                                                                  by the
          law of Ithe stateNE- in which
                                   - 1 —  treatment
                                              Li.  1   is
                                                        I.  received
                                                              isr2 In 9    as
                                                                           I- q
                                                                              1 ualified
                                                                                 I•  4 -   to  m - NI the
                                                                                               treat   -
            p         j 1 or Sickness
          ty e- of In1 ury
                                _
                                       - for which a claim
                                         -     • 1         "       I made.
                                                                   is   1. •    The Physician may
                                                                                    ._ N •   I

          not be you or a member ofI your mimmediate
                                                   •      11, , • family.
                                                                    IL

          "Pre-existing
               •    I - ICondition"
                             • I II means
                                       •     any- Sickness or In  jury for which you
                                                               - !T               ,
          received medical treatment• , consultation, care or services, includin g
          diagnostic procedures, or ■tookI prescribed drugs or medicines
                                                                    •
                                                                          , during the
                                                          -
                 I( )
          three 3 months immediately prior to your effective
             I
                                                      • PE _ - date of insurance.



          "Regular
               •     Occupation"
                             •    r means
                                    NI     the• occupation
                                                 -m •    NI              L    •- • performing
                                                               you are routinely               I

          when
            - •
                   Total
                     I   Disability
                                 II begins.   We   will   look  at your occupation
                                                                        _ _%•_ 1,. _ _  as
                                                                                        -     it    is_
          normally rperformed in the national economy
            I-   _ •       r   r            ■           J •    , and not the unique duties
                                                                                  _   •   .II    II


          performed for a specific employer or in    Ir a specific locale.

          "Retirement Benefits" mean money which you                  • are entitled
                                                                                  _        ' ■to receive
          upon early•   or normal retirement
                                         IL        or disability  retirement
                                                                    p       ■   • under:
                                                                                      ..1,
              (1) any plan  • r of a state, county or municipal   _   A I     retirement
                                                                                AU            sy-stem,
                                                                                                    _I •   if
                            p
                   such ension benefits include any credit for emplo ment with the
                                            - I    I   I    •                          y I     I     I   I
                   Policyholder
                         I .       ;
              (2) Retirement
                       -h ■ 1 Benefits - •      under the United
                                                           III        States Social Security         I   Act
                    •d, 1935, as amended, or under any similar plan or act or
                   of                                                         J             ;
              (•3) an employer's retirement
                                         •            plan where
                                                             •  _ •   payments
                                                                          •            are made in a
                      L   p
                   lum sum or periodically and do not represent
                              • N-   •                                              • I contributions
                                                                                                I. 1
                   made by you.



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          Retirement Benefits
              •                  A_ _AI do
                                       •
                                          _   not include:       •
                                                                                                 I •            1             I


              (1) a federal government employee pension
                               r                 ii, An                • M benefit;
                                                                             • r     1   .                                                                     I

              (2) a thrift
                      n plan;       -_P
              (3) a deferred compensation
                  A      .1I-
                                                         6 • plan;
                                                               I _           1                        •

              (4) an individual•
                                       i   retirement
                                            - I     e.      account (IRA);
              (5) •a tax
                       •      sheltered
                                  •    NE     annuity
                                                  _        (TSA);
              (6) •a ,stock ownership.            plan;•    or
              (7) a• profit
                       . r sharing-I.          plan.

           "Sickness"
             & I J    means
                          *-N    illness or disease causing
                                                         NW    Total Disability
                                                                        4 i       which
                                                                                    A                                     7       —   : • l.
                                                                                                                                                                                                      _


           begins while your
                       . • 1    insurance
                                   k    a  coverage
                                              A
                                                    is in1 effect.
                                                             M     Sickness •includes
                                                                                •                                                     •        ,   I
                                                                                                                                                           —                                                                41. •       .

           pregnancy,                 _ __
            I          ,childbirth,
                          g-71 p miscarriage or abortion,T      or any complications
                                                                              -
          Itherefrom.

          "Totally
           'I _ a Disabled"
                    _     ..   and
                               s    "Total
                                        I j Disability"
                                                    I       mean,
                                                                ▪
                                                                           that
                                                                           •
                                                                                     as a result
                                                                                  • 1 I       1      • ofI an Injury I                                                                                              1

          or
           • Sickness,
              • J '++._ during
                           5_r the, 1. Elimination Period       • and    I   _,     thereafter you cannot
                                                                                    il  Rpm ..-3=
          perform the substantial and material duties of your Regular Occupation;
                           I   L             •                   :+,                     •                            —+                                                    I       _.       1                II        I

              (1) "Partially Disabled" and
                   I                   1 I   - "Partial
                                                  r-s• `kJ Disability"
                                                 _1                   ml             — mean
                                                                                          _       that as a result                                                                       I       I,       1   .._              M            I


                   of an Injury or Sickness you are capable of4 performing
                                       —I—                                                                    . II.
                                                                                                                         the              —            A.
                                                                                                                                                               L.           .
                                                                                                                                                                                                                                    i


                   substantial and material
                                       •      4. duties
                                                  9_11' of
                                                  4          • your
                                                                 I•          Regular
                                                                                I1           —  Occupation
                                                                                                       • - I
                                                                                                          '-.          on a
                   part-time
                    _• I basis  • • orI some  •  of the substantial
                                                                  I !I ' j
                                                                                    and
                                                                                      •      material
                                                                                               • ' .0   • duties   I N-   on
                   a full-time basis.
                                  .1 &      If you are Partially
                                                 _
                                                     -    •  r      - _-L I Disabled I_     JI -      you will be                         —
                                                                                                                                                                                         I                          _ •

                   considered Totally Disabled,
                                             • I     r       except
                                                              r      I      I during
                                                                                 11 Ia       1   the
                                                                                                  -0     Elimination
                                                                                                         1 .111—        r.
                   Period; and I                         •       1


              (2) "Residual Disability" means being Partially Disabled during the
                                       M     E                                                                        •       No          I_           1            .
                                                                                                                                                                                             I



                           • r I Period. Residual
                   Elimination
                   m                         I•       ICI Disability
                                                            .... 1 ,4 - will      . be considered I
                                                                                                                11_ Total
                                                                                                                        • _
                   Disability.
                      f-1 N

          If• you
               -    are
                    I      employed
                           •r      r       ' by the
                                                 •-z Policyholder
                                                       _ E        and require a license
                                                                                 • r•    for such
                                                                                              -.1_                                                                      1       I


          occupation, I I     the
                              I NI: loss1 - of4 such
                                                1 . license
                                                      I - - Ifor any
                                                                  q reason does not in and of'
                                                                      P.
                                                                       - ii.•    1 •  0'  1 L
          itself
              -J constitute
                  l     el■    l    "Total
                                     'im     Disability".
                                             L    JIM




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                                        TRANSFER
                                         •
                                                 OF INSURANCE COVERAGE

               If you  were covered under•   _   •any group long
                                                    • J        M          'pm I insurance
                                                                  •term disability        • c - plan




                                                                                                          -
                                                                                                              -
               1    i

                      , -- byI .the Policyholder
               maintained             °           .     • to
                                                        prior          A • Effective
                                                              & the Policy's    -     I        I you
                                                                                           Date,
               will be insured under the
               •         I I     U.            ,      ,  1
                                          L - Policy, provided - that you
                                                                  r
                                                                        —    11 Actively
                                                                             are      r '    At Work
                                        .. • • 1 • for being an Eligible
                                  ' m requirements
               and meet• all of the                                      %I- '    Person
                                                                                   _0 M    under
                                                                                           I  •  ai the
                                                                                                      •

               Policy on its Effective
                  •
                                    m—    Date.
                                            _1




               IfI youI were covered rim' under 3 •the
                                                    _         • group long term disability
                                                          prior                               .1     plan
                               - the Policyholder prior
               - m - N.-. - - by
               maintained                              .4       to  • IPolicy's
                                                                - the    •      IEffective
                                                                                   ''        Date,
                                                                                              I' 1    but•
                                     _
               were not Actively
                   • _   1     A     at Work due to
                                          • -1            ; .1 or Sickness
                                                     - Injury           4.    onI the k 1Effective
                                                                                           '   • 1   Date
                           1 and
               of the 1-Policy      would
                                r i --         I —Li qualify
                                         1 otherwise          g as an Eligible
                                                                         I               • coverage
                                                                                   Person,         _    .
                     —• allowed
               _will be      I       .%.i the following
                                  under          •—     I     l   a
                                                          conditions:i

               (1) You must   I-, have
                                     t  • I insured with the prior carrier
                                       been                         I           • date
                                                                        EN on the I    of the
                   transfer;
                       I .1 •   andL



               r(2)       Premiums
                              •              *I and
                                   must be- paid;

               (3) Total Disability must begin on or after
                                                      I_    I • Policy's Effective Date.
                                                           the

               If you are receiving long1 •term disability
               I                                                   .- — become
                                                           II benefits,         •           • % .1 for
                                                                                           eligible
               coverage under  -r -another    1, . long
                                       • , , group            ■
                                                       .,_ term disability insurance• plan,
                                                              • ,    • :I_ a-     L   7          EN     or
               have a period of recurrent disability
                                           •     r   1      under
                                                            I I      the prior
                                                                            •      group
                                                                                    I    I. long term
                                                                                               •     -
               disability insurance   i n you will not be
                                 - m plan,                  i
                                                                  covered
                                                                   1
                                                                              under
                                                                               - .
                                                                                       the• Policy.
                                                                                               A         If
               premiums have been paid on your▪ behalf        7 15 under the.    J      Policy,
                                                                                        —          those
                                                                                                   E I._ _

               premiums will bel' refunded.
                                    -    I



               Pre-existing Conditions Limitation Credit

               If you
                    0 are
                        m_ an1 Eligible
                               ha r1    Person on the    —• • 1__J Date of the
                                                    .1 Effective           I .
                                                                               Policy, any
                                                                                       .   time
                                                                                              I'I

               used to satisfy
                      I     la    the Pre-existing Conditions Limitation of the prior group
                                   1    1   • 1 1      —  1        • I          m

               long term disability
                               •     II
                                      I   insurance
                                          I       •     1 will
                                                     plan     U    be credited towards
                                                                                  I -    • the•
               satisfaction ofI the Pre-existing Conditions Limitation of the Policy.
                                                                                              •
                                                                      •
                                                                             1
                                                                                 '.
                                                                                      L
                                                       •
                                                           .
                                         ii
                                                                                                  -
                                                                                                      I
                                                                                          I
                                    '
               Waiting
                L
                      APeriod Credit
                                •             I   II




               If you are an• Eligible
               1
                                 1
                                       Person on the —Effective
                                                           I'       Date of the Policy,
                                                                                  il    any time
                                                                                               .
               used to satisfy any Waiting Period of the prior group long term disability
                   — 1         •         11  •  a     _   —     —.1—  —1.-I —
                                                                                     .—
                                                                                         I

               insurance
                     •i    1plan will be credited towards
                                                       I , the1_0 I satisfaction
                                                                      J       _  of Ithe •Waiting
                                                                                              .
               Period of' the Policy.
                 •        w        I-




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                                       GENERAL
                                           S.  PROVISIONS

          TIME
           •
                 LIMIT ON CERTAIN r _ DEFENSES:
                                              L              i_ 1 After the Policy  •   has been •  in
                         . years
          force for two (2)     • 1from, its i Effective
                                                 = -a.           Date,
                                                                  _      no statement
                                                                              • I      made
                                                                                          •    by you
          on a written
                    •  application
                                •     for
                                       I       1 g_ 1 L' shallI be used
                                            insurance                       •
                                                                                to reduce or deny a
                                                                                •


          claim after your• insurance
                              I —    IN       coverage, ▪ 11    with
                                                                 M.1 respect
                                                                     I •         to which   6_ U has
                                                                                     • - claim
          been made, has been in Veffect . I     P. two
                                                for    ei (2) years.


          CLERICAL  • ERROR: Clerical '    errors inL connection
                                                         M.       with the Policy
                                                                1 —m           ■    or
                                                      1 ,—,            p. 'a: 1'd, the
          delays in keeping records for the Policy, whether by the •Policyholder,
          Plan— Administrator,
                   _r     FL   or us:

               (1) will
                    ▪ not II terminate
                                  •_   insurance that would otherwise
                                                                 • I  have been
                   • I     ■ and
                   effective;  I

                                                       would otherwise have ceased or
               (2)di will not continue• insurance that -1
                     should not have been in effect.
                                     I  I




          If appropriate,
                    ■
                          a fair adjustment
                                     •  10  1 1 premium
                                            of   L J    will
                                                         .   be    - • to
                                                              1 • made I. correct a
          clerical error.

          NOT IN LIEU OF WORKERS' COMPENSATION:
                                            I' —1   •
                                                            TheAM Policy
                                                                    •    is not a
          Workers' Compensation Policy. It does not provide Workers'
                                                m         •  I

          Compensation benefits.

              _— • OF__ PREMIUM:
          WAIVER              —- M     I —
                                            No
                                             .  premium
                                                   - 1      is due us while
                                                                        — •          7- receiving
                                                                               you are   1- —
          Monthly
           _     I Benefits1 from• um us. Once    • Monthly
                                                        — n •   Benefits    - A • due
                                                                I g— —11m cease     m  • 1 the
                                                                                       to  1 • end
                                                                                               - —

          of your1 Total
                   —    • -Disability,
                            •
                                  .■ 1
                                         premium payments
                                           •J ,
                                                    I •       •        begin
                                                                 must L-       • =I' if insurance
                                                                          ;0 again      I I •
          is to continue.
                   1 .—




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                                                    CLAIMS PROVISIONS

               NOTICE OF CLAIM: _ • h• Written_ notice -        must
                                                                 1 _ be• given
                                                                           • • to us within _p      thirty-one
               (31) days after a Total
                                   i     N Disability
                                              • i
                                                     ;1 covered by   ° the
                                                                        I     I Policy
                                                                                   I    occurs,
                                                                                             _•   or- as
                                                                                                      Iii   soon
                                                                                                            k

               as reasonably possible. The notice should be sent to us at our
                          N               • •            _1   •           l-          _N  jr  M           i

               Administrative
                     •    • •   Office
                                     r-     or to m. our/I authorized agent. as        The
                                                                                       - 1. notice
                                                                                               - I - should • -
               include your name,
                              i         the
                                          0 Policyholder's
                                                  il   •    -    name
                                                                   r 1_ and
                                                                        _I      •the
                                                                                   j Policy
                                                                                      —r •    Number.
                                                                                              1 I  _r



               CLAIM•    FORMS:
                          •    ••   When
                                    •         we receive the notice of claim, we will send     N   you
               the
               • • claim forms- Etol file with us. We will send them within fifteen (15) days
                                           mil         • •        I   I -
               after
               I.  I we receive - Inotice.
                                      1.1     Ifi we do not,
                                                           I 'then 1
                                                                   the
                                                                     •• proof of Total Disability
                                                                                             •   H. will
                                                                                                     .
               be met by giving us a written1 1Istatement of the type and -extent of the
                           •               1      1 -

               Total
                   1 I Disability.
                             111 - The
                                     r statement
                                          ' •         must
                                                         t 1 be sent within
                                                                          .1 I ninety
                                                                                  IN-- (90) days
                                                                                             •N after                   "Er



               the
               I •   loss began.

               WRITTEN
                  I   I  0    IPROOF
                                  ■     •    OF TOTAL DISABILITY: For any Total r+           Disability
               covered
                    •    by the Policy, written proof must be sentU.to us within ninety (90)
                                      ■         - 9! I -  1    N                  i

                      .r the Total Disability occurs. If written
               daysI after                                              T   proof
                                                                               • • is not given
                                                                                              • in that
               time, the claim will not be invalidated nor reduced if it is shown that
                        ■I      I      -0       N    .       -    I

               written proof was given as soon as was reasonably possible. In any                    •

               event, proof must be given within one (1) year after the Total Disability
                                                          IA                                    !h_r
               occurs,
                I       unless
                           • • NI you
                                    I     I are legally incapable
                                                                .   of doing so.

               TIME
               • ..MI OF  M      PAYMENT-LI 1 '  OF1r CLAIMS:
                                                        J          After
                                                                   .. N   receiving
                                                                            • .1    written proof of loss,
               we
               . 1. will
                      III pay monthly all benefits then
                            .            1  i
                                                             Ik. 1 due because
                                                                           _      of your Total Disability.
               Benefits
                      151 k   for
                                • any
                                    •      other loss
                                          I1     I     covered
                                                            -_-
                                                                  by Ithe
                                                                        .. Policy
                                                                              -L  will be paid as soon as
               we receive I       written
                                  '   ' I 1 proof.-

               We will1 either. 4     pay the claim  1 or notify     . you in writing   J .' that
                                                                                                N m the
                                                                                                     N      claim_    has1. •
               beenI denied within
                             N         1 • forty-five    • (45) days after receipt of written proof of
                                                                                                     _
                                                                                                         "_,I
                                                                             _
                                                                                                                1
                                                                                                                    •
                                                                                         NM
                                                                                                •
                                                                       I
                                                                                 -
                                                                                     1
                                                              I
               Total
               • 116    Disability.
                          .m. d IL      IfI additional
                                            • j           information
                                                          ma     - N 9. N is  m required
                                                                                 m.•I .     in order toF review    .1 the
               claim,
                •         we
                          .     will pay
                                      . or deny such
                                                •         • -I claim
                                                                   • 1 1 1 within
                                                                               I I sixty (60) days I    after
                                                                                                         1'      receipt
               of the additional
                    I          IN       information. In any case, we will
                                            I I  _ •  J                               M    either pay or deny any
                                                                                                          I             -

               claim not' later than one hundred twenty (120) days
                • .     I                                                             h     after receiving  r   written
                                                                                                                      II
                                                                  L.
                                                                       .
                                                          1
               proof
                r     i ofI Total Disability. L      Any
                                                       _
                                                            overdue
                                                              • - 1 - payments
                                                                           1            will
                                                                                         •    include interest I   • at a

               rate
                  I. of1 tenf '(10%) percent  •      per annum.1

               PAYMENT  •     OF CLAIMS:
                                       -       When we receive written proof of Total
               Disability
                 I •        covered by   the Policy,
                                             r       we
                                                      • will
                                                        • 1 pay
                                                             •  any
                                                                9i I; benefits due. Benefits
               that provide for periodic payment will be paid for each •period as we
               become liable.
                          1.•



               We will pay benefits to you, if living,
                                               N       or else to your
                                                                   ▪ • estate.
                                                                         r'

               If you died and we have not paid allI benefits due, we may pay up to
               $3,000
                  1 ■
                        to any relative by blood or marriage,
                                                            • or to the executor or
               administrator of your estate. The payment will only be made
                                                      1   •            _m_ •    to persons
                                                                                I.
               entitled to it.
                           ti An expense incurred as a result of your last illness, death
                                                                         I   pi         •



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          or burial will entitle a person to this payment. The payments will cease
          when a valid claim is made for the benefit. We will not be liable for any
          payment we have made in good faith.

          Reliance Standard Life Insurance Company shall serve as the claims
          review fiduciary with respect to the insurance certificate and the Plan.
          The claims review fiduciary has the discretionary authority to interpret the
          Plan and the insurance certificate and to determine eligibility for benefits.
          Decisions by the claims review fiduciary shall be complete, final and
          binding on all parties.

          ARBITRATION OF CLAIMS: Any claim or dispute arising from or
          relating to our determination regarding your Total Disability may be
          settled by arbitration when agreed to by you and us in accordance with
          the Rules for Health and Accident Claims of the American Arbitration
          Association or by any other method agreeable to you and us. In the
          case of a claim under an Employee Retirement Income Security Act
          (hereinafter referred to as ERISA) Plan, your ERISA claim appeal
          remedies, if applicable, must be exhausted before the claim may be
          submitted to arbitration. Judgment upon the award rendered by the
          arbitrators may be entered in any court having jurisdiction over such
          awards.

          Unless otherwise agreed to by you and us, any such award will be
          binding on you and us for a period of twelve (12) months after it is
          rendered assuming that the award is not based on fraudulent information
          and you continue to be Totally Disabled. At the end of such twelve (12)
          month period, the issue of Total Disability may again be submitted to
          arbitration in accordance with this provision.

          Any costs of said arbitration proceedings levied by the American
          Arbitration Association or the organization or person(s) conducting the
          proceedings will be paid by us.

          PHYSICAL EXAMINATION AND AUTOPSY: We will, at our expense,
          have the right to have you interviewed and/or examined:
              (1) physically;
              (2) psychologically; and/or
              (3) psychiatrically;
          to determine the existence of any Total Disability which is the basis for a
          claim. This right may be used as often as it is reasonably required while
          a claim is pending.

          We can have an autopsy made unless prohibited by law.

          LEGAL ACTIONS: No legal action may be brought against us to recover
          on the Policy within sixty (60) days after written proof of loss has been
          given as required by the Policy.      No action may be brought after the

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          expiration of the applicable statute of limitations from the time written
          proof of loss is required to be given.




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                            1'11. 11_r EFFECTIVE
                           ELIGIBILITY,  -11
                                                    r AND -TERMINATION
                                                 DATE        0

                    I — I REQUIREMENTS:
          ELIGIBILITY        di     a - k r_     You are eligible forI insurance
                                                                       g_m_ __   I under
                                                                                   1 N•

          the
          hi - Policy if you:
                  I    N  _d

               (1) are a member of an IEligible Class, as shown on the ScheduleI,       of
                     Benefits page; and
                _I have completed
               (2)                       • Waiting Period,
                                 I ._. the                 asI shown   on the Schedule
                                                      •        •  'I.

                     of Benefits
                        f • 1     page.
                                      •

          - I I — PERIOD:
          WAITING    %I 1 _ ..— If you        • • J M- employed
                                    1 are continuously         • M      on-
                                                                            a Full-time
                                                                              •     i - 1
                                                                             1T
          basis - i the Policyholder
          — 1 — with       1  I     oh for the
                                            i   period
                                                  1 i  specified
                                                       .i   _ .     L the
                                                                   on            1 IN of
                                                                      : _- Schedule

          Benefits page, then you
           N mi -.
                         I__.
                                •  have satisfied
                                           -F I      I    •Nm . Period.
                                                  the Waiting
            _ • 1 I DATE
          EFFECTIVE          • OF YOUR •_ I or IINSURANCE:      If Ithe
                                                        N • I - mi     Am Policyholder
                                                                               lir 1 '      pays
                                 .
          theN +
          1             - N_N due for you, your
               entire Premium                         insurance
                                                  ' l' T NI N   will  go    into
                                                                              6   effect on Your
                     - 1 N as shown
          Effective Date,      I   ..• on the Schedule of Benefits page.
                                              •                     111
                                                                      ,11 m a%




                - I pay
          Ifm you        • a part of the Premium, you must apply in writing for the

                                                                                         a
                                                          I
                                                              •
                                                                  ME
                                                                         I
                                                  I
                                                      •
                                        .
                                                                                                              1
                                                                                                                  4
                                                                                                                      -
          insurance to go into effect. You will become 1insured                  I
                                                                                          •     •         the latestI of:
                                                                                                      on I.—,             .
                                                                             I
                                              -
          .
               1
                   •
                       1
                                                                                 -
                                    •
                (1) Your Effective
                               MI
                                          10
                                                Date, as shown onI the Schedule of Benefits
                                                   • II •   .11
                                                                                                                _     I ._.page,

                     Iif you apply on       - or  I before_• _     that
                                                                      I    date;
                                                                           M _MI
                                 I

                (2) on the infirst of the            month         coinciding with          or 1next     following      °i date
                                                                                                                    m the
                _ -                                                                     m
                                             1
                                                              1.                                    _    '_1                   ll
                      you apply,
                             0-1-       if youi apply- 1 within     N- • thirty-one (31) days from the  w                N dateI
                      you first met the Eligibility
                                           m  l     _0           I   Requirements; or
                                                                        mi   Im•       m       I  I

                (3) on the -      first
                                  i     of the month          r    coinciding
                                                                    _ II     .       with or next• mfollowing
                                                                                                            I    I .
                                                                                                                       the dateI

                      we approve any required proof of -health                       M.
                                                                                                  • • • is to us. We
                                                                                           1 acceptable
                      require this proof if you mi
                                    •              • r           apply:
                                                                     LI
                           I L. thirty-one
                        • after
                      (a)                           • I(31) days IN            from the  , • date   . you first  P     met1 m the   •
                            Eligibility
                             _IN'            Requirements;
                                              'mmom•                 h or
                      (b) after •     you terminated
                                                 1 • • --                         am1 e r. • but
                                                                        w m insurance
                                                                        this                        _ ■o remained
                                                                                                               '•      m in i l an'
                            'Eligible
                              1 1     6  Class,1 as shown on the
                                                -                            -    - Schedule of Benefits page.
                                                                                            .•  •    N        I   .      •IN   •

          The insurance for  IN        _9 not
                                  you will      • go into effect
                                                              •    on a date P you are not
                                _1 N I of a Sickness or Injury.
                       1.' 11 because
                1 at Work
          Actively                                              I     • 1
                                                                      The   insurance will go
          into effect after you are Actively
                                      •                I . for one (1) full
                                                - at Work                            r
                                                                                     Eligible
                                                                        _ day in an I— _
                     a 1_ on the
          Class, as shown          • Schedule
                                           - 16    of Benefits page.

          TERMINATION
                m•11         •   OF YOUR     _ INSURANCE:
                                                . I'l In_ -1_      Your• insurance
                                                                           I I N       M terminate
                                                                                      will       •
                                                                                             _
             • 1    •
                         .. the
          on the first1 of        following
                             1 1 1—     -     to occur:I
               (1) the date the Policy terminates;
                           I   I I    :   11   _       •
               (2) the date you  1 I cease— to meet •the Eligibility
                                                                11        Requirements;
                                                                                    I

               (3) the end of the   . period for which  M I   Premium
                                                              • —          has been paid  L for you;
                                                                                                 •

                      or
               (4) the date you enter military service (not including        N  • 1     Reserve or
                      National Guard).


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          YOUR   ' REINSTATEMENT:
                      .11 1          -- I       If you     . terminated,
                                                       11 are .. id •             I - 1 • may be
                                                                            your insurance
          reinstated • Iif you return
                                  w,      - Active Work with the Policyholder
                                          to   1_  Ar  •      •   • r •  N    -0 ' r     - Ili 1 the
                                                                                         within   '
          period of time as shown on the Schedule of Benefits page.
           i         •   I                   -       .       a%          'm i= e    • or Youi  must
                                                                                               1
                                                                                               1




                                                                                                               P
          also
          1      be aI Imember of• an        r 4 I. Class, as
                                         I Eligible                 - shown
                                                                        I..    on the Schedule
                                                                                          N    I. of
          Benefits page, and have been:
             - .-• A   i       _M    •  -
                            --' I of
                (1) on a leave      t absence
                                       • A .•       approved by the Policyholder; or
                (2) on temporary lay-off.

          You will• not be requiredI to fulfill                                 1 1 • _ ' of
                                                                     1 r I' Requirements
                                                        I i Eligibility
                                                     if the                                          • Policy
                                                                                                 - the
                                    _                  M effect after you return to
              ▪ _ The insurance -e
          again.                             will go into                                  11% Active Work
                      •     .-                               M              •                         I I
          for one (1) full day. IfIII you return after       .    I having          im or
                                                                            1 _resigned     • having
                                                                                                1 • •     been
                                                                                                          1 1 1


          discharged, you will be required to fulfill                    the Eligibility Requirements           of
                                                                              _
           L                                                       I           VP              1 6 -1 m
          the Policy again. If you return after terminating insurance
                   I                     I    Hi-      kJ  •   J          L      IF      .4at your request
                                                                                                   I




                                                                                                           A
                                                                                                                   -
          or for failure to  r    pay Premium
                                           •  •     when due,    -1 proofI of healthme   acceptable
                                                                                             •    •_-_    to us
                       •
             i -_ be submitted
          must          • •    I I.   before
                                       i         you may be reinstated. 1 •_•



          EXTENSION
              1 1 14    OF BENEFITS: Termination
                                               II of     ' • Policy will not• affect
                                                      11 the                     M
          any
          4   claim
               w-I   % 1 was covered prior to termination, subject to the terms
                     which  Am        •  I       i i ••     , k i i. I
                                                                     I   1
          and conditions of •the Policy.
                                 a




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                                              BENEFIT PROVISIONS
                                                        -I •     •              -.



              4 • CLAUSE:
          INSURING        • • will
                     _ k We           • Monthly
                                   .1 a
                               4 pay    •       Benefit if you:
                                                I oproo -I
                    • Totally
               (1) are   • • i r.      , as the result
                                 Disabled                • 1 of a Sickness • or Injury
                                                                                 -n    covered
                                                                                            •

                   by the Policy;
                              1
                   _ •,
               (2) are   •
                       under-   , - regular
                               the   -' 4 - care — of a Physician;
                                                     lir    - .   I —I —

               (3) have completed
                             I I_ n       — Elimination
                                        the  NJ n- - _     Period;IL and  _

               (4) submit satisfactory
                         •
                                  ' N           l of Total' Disability
                                           iproof          I.   -          1 us.
                                                                       El to

            9 _ .. refer
          IPlease     '  I- the Schedule
                         to       .-  I ofI              Benefits for— the MONTHLY
                                                                            o d    BENEFIT
                                                                                   • • o • and
          OTHER INCOME BENEFITS.
             - _m


          Benefits you are entitled
                                 11 il      to
                                            •
                                                 receive
                                                     •   • IunderI% OTHER
                                                                        I  INCOME
                                                                            I       BENEFITS
          1 1 be
          will  • •estimated
                      •            L— benefits:
                              if the
                              IN                  N
               (1) have not
                         i  r been
                                 ••      applied
                                          .            r or
                                                    for;
               (2) have
                    n1   been
                            -     applied
                                       1 1   1 for and   a decision
                                                             P.      is
                                                                     •
                                                                        pending; or
               (3) have been denied and the denial may be appealed.
                         I            -         Er     r   -_   •

          The Monthly Benefit       .•I be
                                  5 will  • reduced
                                             m                ••     9 _ amount.
                                                      by theI estimated   •   I    If benefits
                                                                                         .
          have been estimated, the Monthly Benefit will be adjusted when we
          N.- •  N A I     -                                                                                 MI



          receive proof:
                             mr o ! L awarded;
                         I amount
               (1) ofN the             E A N.   orI
               (2) that benefits have been denied         and  theI denial  NE • • be further
                                                                         • cannot
                    m             ■           _
                                                    1 1   or         •                     •

                    Iappealed.
                          • ..

           If we-   have
                     .  - underpaid
                              r        o the     - Monthly        - -.. for
                                                           I I IBenefit     A any reason,  -                • make
                                                                                                        we will    I — a
          lump
            I.      sumL- payment.
                           I      iftl        IfI we
                                                   -    have- overpaid• -_•
                                                                               the
                                                                                ▪
                                                                                  -
                                                                                        Monthly
                                                                                         I - M- M     Benefit
                                                                                                          -  d for1 any
                                                                                                                     r_


          Ireason,
              -   •    the overpayment     -I.       must• be repaid to us. At our option, we may
                                                                                    n             -              -

          I
           reduce the Monthly
                            _ • _
                                         Benefit   LMI- or
                                                         .  ask
                                                            n n  for a• lump
                                                                         I   '      sum
                                                                                     i.       refund.
                                                                                                •   I 1
                                                                                                      1
                                                                                                          If we reduce
                                                                                                                    V

          Ithe Monthly
                    Ni l'     N •.11 the
                              Benefit,     I _ __  Minimum Monthly Benefit, if any, as shown on
                                                                        r    •
           the• Schedule  n of Benefits r. rio page, I          fi l not apply.
                                                             would              •


                                                      i less Mthan
          For each day of a period• of• -Total Disability        1 I           I. the
                                                                     a full month,
          amount payable will be 1/30th
                           IL             .1 the Monthly Benefit.
                                    I -dm of        •
                                                               I

          COST OF LIVING FREEZE: After 1.                                       N Other
                                                                 r • • I 'for any
                                                    the initial deduction           In .
                                                                          _
                                               1 • L will not be further reduced due to
          Income Benefits,
                   1       . -, the Monthly
                                       n    Benefit                 •             6
          any
            • costn of Iliving increases
                                     i    1 N • r- under these
                                         payable          r     Other
                                                                  1
                                                                      Income Benefits.
                                                                              r


          LUMP
            1  SUM PAYMENTS:
                         m
                             If Other Income Benefits
                              I   •              r    are        -1 a lump
                                                            N I in
                                                        , paid
                • sum will1 be prorated
            ... the
          sum,                      • n    over the period of time  . which the Other
                                                                 . to
                    _ r apply.
          Income benefits      , r   If no
                                        a   period
                                                 •                - 1 the
                                                   of time is given,    m isum
                                                                             if  Jr be
                                                                                will
          prorated
          1         over sixty
                         •     (60) months.
                                     n  :


          TERMINATION
          ' -n . 1N   OF MONTHLY BENEFIT:
                                     I    The Monthly Benefit will stop
          on the earliest
          1 1 a   ••_I    of:

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              (1) the date you cease to be Totally Disabled;
              (2) the date you die;
              (3) the Maximum Duration of Benefits, as shown on the Schedule of
                  Benefits page, has ended; or
              (4) the date you fail to furnish the required proof of Total Disability.

          RECURRENT DISABILITY: If, after a period of Total Disability for which
          benefits are payable, you return to Active Work for at least six (6)
          consecutive months, any recurrent Total Disability for the same or
          related cause will be part of a new period of Total Disability. A new
          Elimination Period must be completed before any further Monthly
          Benefits are payable.

          If you return to Active Work for less than six (6) months, a recurrent Total
          Disability for the same or related cause will be part of the same Total
          Disability. A new Elimination Period is not required. Our liability for the
          entire period will be subject to the terms of the Policy for the original
          period of Total Disability.

          If you become eligible for insurance coverage under any other group
          long term disability insurance plan, then this recurrent disability section
          will not apply to you.




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                                         EXCLUSIONS
          We will   not pay a Monthly Benefit for any Total Disability caused by:
             (1)    an act of war, declared or undeclared; or
             (2)    an intentionally self-inflicted Injury; or
             (3)    the Insured committing a felony; or
             (4)    an Injury or Sickness that occurs while the Insured is confined in
                    any penal or correctional institution.




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                                                                     .
                                                                   LIMITATIONS
                                                                             N

          MENTAL
             I         OR
                        I  NERVOUS
                             . -      •
                                      ■   DISORDERS:
                                          M N             Monthly
                                                           -    .
                                                                  11   Benefits
                                                                         •      for Total
                   .
          LDisability caused
                       m -    by or contributed to by mental or nervous
                                        I    m • 1 _   NM L   I      •   I disorders will
                                                                           -
          not be• payable beyond
                            IV I 1 an aggregate
                                             • NI      lifetime
                                                          -    I maximum
                                                                      I   mE    duration of
          twenty-four (24} months unless you are in a Hospital or Institution at the
                             _   I      V. -      _            a. .4
                                                                   .    I    1__1 r will
                                                                                       .1 t
          end of
               :* the twenty-four
                              i _ (24} month period.
                                                  • • _ The I'    Monthly    Benefit         be
          payable while so confined, but notr .beyond
             .N                 •  1, ,              '     1 the Maximum
                                                                     II I       Duration
                                                                                  I  I      1 of
          Benefits.
                9

          If you were confined in a Hospital or Institution •            and:
               (1) Total Disability continues beyond discharge;
                                ✓.               -   1  .
               (2) Erthe• confinement
                              A           was
                                           I   during
                                                  •..    a period
                                                              _     _ of
                                                                      ii- Total
                                                                            I - Disability;
                                                                                   .1 11 and
               (3) ithe period of confinement was for at least fourteen (14)
                                             I._           I   Im


                    consecutive
                        k         • days;
                                     ir IF
          then upon discharge, Monthly
          I  •            I              II    .Benefits
                                                       11 I. will
                                                                .1 be payable
                                                                          L  ml -
                                                                                  for •the.- greater
                                                                                               11 .11•_,
                                                                                                         of:
               (1) the unused1 portion of• the twenty-four
                                                         •             (24) month period; or
               (2) ninety (90) days;
          but in 1no event
                        •   •
                               beyond the Maximum Duration of Benefits,
                                                              M-                . I         as
                                                                                             r shown on
          the Schedule of Benefits page.
                                    I.
                                          ti II   .   M        .1




          Mental
           . I r     or Nervous
                             _ I        Disorders
                                             •-
                                                    are defined
                                                          I N. • I to
                                                                   N include
                                                                          I disorders which are
          diagnosed
           ` li  I I •     •to 1include
                                   IL •• a r condition
                                              - 1 9 - such as:
                (1) bipolar disorderI         (manic
                                                   r depressive
                                                       ...    I r syndrome);
                (2) schizophrenia;
                                 C --
                (3) delusional
                       .4.         -_ (paranoid)
                                        , _I m _ disorders;
                (4) psychotic disorders;
                         r     - -• - '  N• • L
                (5) depressive
                       I          _ ! disorders;
                                        it ._6_
                (6) anxiety   • disorders;
                                    I
                       _1 1. , •
                (7) somatoform                  ,
                                          disorders  (psychosomatic
                                                           1.   I .    illness);
                (8) eating disorders; or
                     -..                 •

                (9) mental illness.
                                                                                      _ 1'
          SUBSTANCE
           t 1      ABUSE:
                     _ W.            Monthly rBenefits
                                                _      • for Total Disability
                                                                    .    •    due to
          alcoholism
               •     or drug addiction will be payable
                                                 1 - 1 while
                                                         • k you are a participant in        I   -       I


          a Substance Abuse Rehabilitation Program.
                I   I           •
                                                   1     TheN Monthly
                                                               I      Benefit will not               .


          be 1payable beyond twenty-four (24) months.
                        I   t            -
                                                     r




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          If, during a period of Total Disability due                  •      to
                                                                              I Substance
                                                                                        1 1        Abuse for which •   • a

          Monthly Benefit
                        I 'II    isI- payable,  1         you
                                                           •        are
                                                                    I         able
                                                                              • ..• to perform Rehabilitative
                                                                                               .rd •—i  -  •     17
          Employment,-      the
                            -1       Monthly
                                       1               Benefit,
                                                             r           less
                                                                          6       50%
                                                                                  •         of   any   of  the  money
          received from this IRehabilitative
                                       • M.        I       - IEmployment
                                                                  _ . 1•               will be paid until: (1) you
          are performing all the      1- material I- % r duties  I h. of' your Regular Occupation on a
          full-time basis; or (2) the    MI   • end of       - • twenty-four
                                                                  .         1 1         (24) consecutive months      I
          from the date
          •        •   M Ithat m the
                                   l_     Elimination
                                          'TI      I ▪          Period
                                                                    II        Nis satisfied,
                                                                                   - • I I 1- 1 whichever is earlier.
          All
            Al terms and conditions         •         of the
                                                           •        Rehabilitation
                                                                      •      'm          I    Benefit
                                                                                                  M
                                                                                                    I=
                                                                                                        will
                                                                                                          I I apply
                                                                                                                 I      to
          Rehabilitative
                1 - M Employment
                            -   . I      - .-  j    due
                                                    1   .  to
                                                           •    Substance            Abuse.

          "Substance
          N
                 N      _    Abuse"
                              I p      I       means the pattern
                                                               •
                                                                    I ofI pathological
                                                                                 .    M          .
                                                                                                use  ofIII a
          Substance which is characterized by:
                          A      _Li        .

              (1) impairments
                          • I.    M
                                         -
                                            in social and/or occupational- functioning;
                                                                                13 _ ' I LIE
              (2) debilitating physical condition;
                    _•     ll      I       1-    1

              (3) inability
                       I. I to abstain        r- 4 .from or reduce
                                                               •    consumption
                                                                         _       L      of the• Substance;
                   or11
              (4) -the need s.i • I for
                                     I • 1daily Substance
                                                        • Id
                                                               use for adequate
                                                                          .1. •    r _ functioning.
                                                                                         %

          "Substance" means  • alcohol
                                    il     and • those
                                                  '     drugs included on the Department
                                       - .i         i 1
          of Health, Retardation
                      — MI I       and     Hospitals'   Substance
                                                               IN  Abuse list of addictive
          drugs, except tobacco
                          r       and I.. caffeine
                                           -I 'm -.. are
                                                      r excluded.
                                                            I.


           A Substance Abuse — Er   Rehabilitation
                                      L -_ I I-  _•  Program
                                                       —   -I     means
                                                                   I .11 I       a- program
           supervised
             I        by a Physician or a  licensed
                                              -.  - rehabilitation
                                                      I  I  I. I •    specialist
                                                                       r   - I-.   ' I approved
                                                                                        • 1
          1by us.

          PRE-EXISTING
          • V •   .
                       CONDITIONS:                             Benefits will
                                                                        -U   not be paid for
                                                                                         • M a Total
          Disability:
            •    111

               (1) caused by;
               (2) contributed to by; or
               (3) resulting from;
          a Pre-existing
                       •• ConditionII     unless you have  • l•
                                                                been
                                                                 M
                                                                     Actively at Work for one
          (1) full Iday
                     -   following
                           •   I      the end of twelve
                                                     I - I (12) consecutive
                                                                      •  •   months
                                                                                  1 from the
          date you became insured.
                                 M     I




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            1                                               Page 9.1

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                                     SPECIFIC INDEMNITY BENEFIT

          If you suffer any one of the Losses listed below from an accident
          resulting in an Injury, we will pay a guaranteed minimum number of
          Monthly Benefit payments, as shown below. However:

               (1) the Loss must occur within one hundred and eighty (180) days;
                   and
               (2) you must live past the Elimination Period.

          For Loss of:                                                                Number of Monthly
                                                                                       Benefit Payments:

          Both Hands .................................................................................46 Months
          Both Feet ...................................................................................46 Months
          Entire Sight in Both Eyes ...........................................................46 Months
          Hearing in Both Ears................................................................... 46 Months
          Speech ....................................................................................... 46 Months
          One Hand and One Foot ...........................................................46 Months
          One Hand and Entire Sight in One Eye .....................................46 Months
          One Foot and Entire Sight in One Eye ......................................46 Months
          One Arm ....................................................................................35 Months
          One Leg .....................................................................................35 Months
          One Hand .................................................................................. 23 Months
          One Foot ....................................................................................23 Months
          Entire Sight in One Eye .............................................................15 Months
          Hearing in One Ear .................................................................... 15 Months

          "Loss(es)" with respect to:
              (1) hand or foot, means the complete severance through or above
                  the wrist or ankle joint;
                )
              (2 arm or leg, means the complete severance through or above the
                  elbow or knee joint; or
              (3) sight, speech or hearing, means total and irrecoverable Loss
                  thereof.

          If more than one (1) Loss results from any one accident, payment will be
          made for the Loss for which the greatest number of Monthly Benefit
          payments is provided.

          The amount payable is the Monthly Benefit, as shown on the Schedule of
          Benefits page, with no reduction from Other Income Benefits. The
          number of Monthly Benefit payments will not cease if you return to Active
          Work. If death occurs after we begin paying Monthly Benefits, but before
          the Specific Indemnity Benefit has been paid according to the above
          schedule, the balance remaining at time of death will be paid to your

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          estate, unless a beneficiary is on record with us under the Policy.

          Benefits may be payable longer than shown above as long as you are
          still Totally Disabled, subject to the Maximum Duration of Benefits, as
          shown on the Schedule of Benefits page.




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                            SURVIVOR BENEFIT - LUMP SUM

          We will pay a benefit to your Survivor when we receive proof that you
          died while:
              (1) you were receiving Monthly Benefits from us; and
              (2) you were Totally Disabled for at least one hundred and eighty
                  (180) consecutive days.

          The benefit will be an amount equal to 3 times your last Monthly Benefit.
          The last Monthly Benefit is the benefit you were eligible to receive right
          before your death. It is not reduced by wages earned while in
          Rehabilitative Employment.

          A benefit payable to a minor may be paid to the minor's legally appointed
          guardian. If there is no guardian, at our option, we may pay the benefit
          to an adult that has, in our opinion, assumed the custody and main
          support of the minor. We will not be liable for any payment we have
          made in good faith.

          "Survivor" means your spouse. If the spouse dies before you or if you
          were legally separated, then your natural, legally adopted or step­
          children, who are under age twenty-five (25) will be the Survivors. If
          there are no eligible Survivors, payment will be made to your estate,
          unless a beneficiary is on record with us under the Policy.




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                    WORK INCENTIVE AND CHILD CARE BENEFITS
          WORK INCENTIVE BENEFIT
          During the first twelve (12) months of Rehabilitative Employment during
          which a Monthly Benefit is payable, we will not offset earnings from such
          Rehabilitative Employment until the sum of:
              (1) the Monthly Benefit prior to offsets with Other Income Benefits;
                  and
              (2) earnings from Rehabilitative Employment;
          exceed 100% of your Covered Monthly Earnings. If the sum above
          exceeds 100% of Covered Monthly Earnings, our Benefit Amount will be
          reduced by such excess amount until the sum of (1) and (2) above
          equals 100%.

          CHILD CARE BENEFIT
          We will allow a Child Care Benefit if:
             (1) you are receiving benefits under the Work Incentive Benefit;
             (2) your Child(ren) is (are) under 14 years of age;
             (3) the child care is provided by a non-relative; and
             (4) the charges for child care are documented by a receipt from the
                  caregiver, including social security number or taxpayer
                  identification number.

          During the twelve (12) month period in which you are eligible for the
          Work Incentive Benefit, an amount equal to actual expenses incurred for
          child care, up to a maximum of $250 per month, will be added to your
          Covered Monthly Earnings when calculating the Benefit Amount under
          the Work Incentive Benefit.

          Child(ren) means: your unmarried child(ren), including any foster child,
          adopted child or step child who resides in your home and is financially
          dependent on you for support and maintenance.




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            EXTENSION OF COVERAGE UNDER THE FAMILY AND MEDICAL
                     LEAVE ACT AND UNIFORMED SERVICES
             EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT (USERRA)

          Family and Medical Leave of Absence:

          We will continue your coverage in accordance with the Policyholder's
          policies regarding leave under the Family and Medical Leave Act of
          1993, as amended, or any similar state law, as amended, if:

            (1) the premium for you continues to be paid during the leave; and
            (2) the Policyholder has approved your leave in writing and provides a
                copy of such approval within thirty-one (31) days of our request.

          As long as the above requirements are satisfied, we will continue
          coverage until the later of:

            (1) the end of the leave period required by the Family and Medical
                Leave Act of 1993, as amended; or
            (2) the end of the leave period required by any similar state law, as
                amended.
          Military Services Leave of Absence:
          We will continue your coverage in accordance with the Policyholder's
          policies regarding Military Services Leave of Absence under USERRA if
          the premium for you continues to be paid during the leave.
          As long as the above requirement is satisfied, we will continue coverage
          until the end of the period required by USERRA.
          The Policy, while coverage is being continued under the Military Services
          Leave of Absence extension, does not cover any loss which occurs while
          on active duty in the military if such loss is caused by or arises out of
          such military service, including but not limited to war or any act of war,
          whether declared or undeclared.
          While you are on a Family and Medical Leave of Absence for any reason
          other than your own illness, injury or disability or Military Services Leave
          of Absence you will be considered Actively at Work. Any changes such
          as revisions to coverage due to age, class or salary changes, as
          applicable, will apply during the leave except that increases in the
          amount of insurance, whether automatic or subject to election, will not be
          effective if you are not considered Actively at Work until you have
          returned to Active Work for one (1) full day.


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          A leave
                O- 1    of absence
                           N • •     taken in accordance _I  with
                                                               •   the Family
                                                                          _ 71     and
                                                                                   .0    Medical
                                                                                         •

          1Leave Act of 1993 or USERRA will run concurrently
                •        I
                                 1-             I I  NEM   '           I  m   with
                                                                               - I    any
                                                                                      M.   other
                                                                                            • .


           applicable
              r      1 N 1continuation
                             I    •N              I - provision in the
                                       ofJ insurance                 I   Policy.
                                                                           -h


          Yourh coverage -4 cease
                    I _ will .    under this extension
                                                 I-    on the earliest of:
            (1) •the date the       M     Policy
                                            -      terminates;
                                                    •     1              _or

            (2) the endI of the              period   for which                — N_— has
                                                                       1 premium         _I- been   C paid    for you;  M or
              • •                                             I n
                                       I      V                                                I        1J

            (3) the •        date such leave should
                                .          M           7      I'.
                                                                    -          end
                                                                                11-    in accordance
                                                                                             -        _ •        with m
                                                                                                                    I I
                                                                                                                          the
                 Policyholder's
                      II II-                    4 F • regarding
                                      - v policies                1          I •Family and  - I 1Medical           m._ of
                                                                                                             ti Leave
                                                                                             I _
                 Absence
                       .d.            and• Military Services      I          Leave of Absence             in compliance
                                                                                                                    1 • •
                 with . the _       - 1 F iand Medical Leave
                                    Family               A       •    1.1 I       Act• ofI 1993, as amended
                                                                                                  -1  •    j    Il  i     and
                                                                                                                           V
                                                                        I
                 USERRA. Coverage will
                    I             .            L    •      i not
                                                               '        be terminated if you become Totally
                                                                           I
                 Disabled during the period of the                     LE I.  leave• and1 are        `id 1 for benefits
                                                                                                 . eligible
                  •
                      II-
                             •
                 according
                  le:          -       to  the   terms
                                                 •         of• -
                                                                 the      Policy.     Any     Monthly      Benefit which
                 becomes
                      •       -       payable I will be based on your Covered          I _ .— Monthly     III Earnings
                                                                                                                   ' - _•
                 immediately
                  I        ••
                               r j. , prior to   li ther date_IIP-_i  of Total  Ji_Disability.
                                                                                      •- I'

                            -I         I • not
          Should the Policyholder choose               I 1 p your
                                              I to continue   .'    coverage during
                                                                              I I
                                                                              m m of
                                                                                    a
          Family and
                 .1  Medical Leave of Absence
                                           ri    I and/or
                                                   1 •   I Military
                                                                 1r Services
                                                                      N   .  Leave
          Absence, your coverage will be reinstated.




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                                           REHABILITATION
                                                        ▪ BENEFIT
                                                           • 15 Um •



          "Rehabilitative
              so •    ilam    -Employment" means work in any gainful occupation       II       for
          which your training,
            .1    I              .11 education or experience will reasonably allow. The
                                       •    1      r                                    I- •
          work must be approved    • t        by a Physician or a licensed  .        or certified
          rehabilitation
                   41_       specialist approved
                                         14      •      by us. Rehabilitative
                                                                       ■i
                                                                          nt - 1B-  Employment
          includes
            •            work performed
                                 • I   -_ while
                                              • r Partially
                                                     -  1■1  Disabled, but does •    nottiinclude
          performing all the materialI duties  I                              • =`• .f on a full­
                                                       of your Regular Occupation
          time ▪ basis.
                     •




          If you are receiving a Monthly     .1 • f  Benefit because
                                                    ■ II •        1 Nm I.
                                                                       I
                                                                             you are considered  •

          Totally
               t.-     Disabled
                       r     1_    under the terms of the•    Policy and 1    are
                                                                               11 able
                                                                                    1 • to
                                                                                         II perform
          Rehabilitative
                     1         Employment,
                                - •            we will
                                               •
                                                    • continue to pay the Monthly Benefit
                                                            •    t         •  I   •

          less •     an amounts at equal to 50% of     •   earnings
                                                               S        received
                                                                              • I    through
                                                                                     t f       such
          Rehabilitative
            t.     •     1 -   Employment.
                               t    1




          If you are
                   na    able to perform Rehabilitative
                                                   I -I     II      •     Employment when Totally    4
          Disabled
               _•     due to Substance Abuse,    •         _ we• will
                                                                  •     continue
                                                                        •     •  to pay the Monthly
          Benefit less
            •      I_     an amount
                              ■  v.
                                        •  equal to 50% of earnings received through such
                                           B            F.                 .

          Rehabilitative
                  I    1      Employment.
                                   • 1•    Mt     This•       •MonthlyL Benefit
                                                                           R. Er is 1payable
                                                                                      •     M •   for a
          maximum of twenty-four
                            B
                               -      I 01    (24)
                                                a    consecutive
                                                               • L       months from the date the
                                                                                        1
                                                                                        • •     •    • B


          Elimination
                  tr     Period is satisfied.
                                        •    IN



          You will be considered able to perform Rehabilitative                        Mi l        Employment
                                                                                                         • •
                                                                                                                      if a
          Physician or licensed or certified rehabilitation specialist approved by us
                                                    t
                                                          t           t . _ •
                                                                            • t     •••          •    t  I   —
          determines
             a •  t -  that you can      • perform
                                             I
                                               -              such  i
                                                                         employment.
                                                                              I                  If you refuse such  •

          Rehabilitative
          •                Employment,
                              - -I      - - 1       or
                                                     -      have
                                                            1.           been performing  -   —At       Rehabilitative
                                                                                                                I ti

          Employment
            -    -       and refuse
                         _
                                 I #. le to continue
                                                 t     t _II f        such
                                                                       -      employment,
                                                                               •  t         t PI     even1 1though a
          Physician or licensed Ior certified               rehabilitation           specialist      approved     by us
                                                   ▪     I
                                                            I     _I4„      i
                                                   in

          has determined that
                           I I    st you are able to perform Rehabilitative Employment,
                                            I-     A           I          r -    -    I   .          -   - _  _  ■ - t.
          the Monthly Benefit will be reduced by 50%, without regard to -the
                         t .A.  .•                               A.       •                   •
          Minimum Monthly■       Benefit.
                                      .1 .1




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                         RELIANCE
                          F . I   STANDARD
                                       40.
                                    A. •   LIFE INSURANCE COMPANY
                                                            11




                                          AMENDATORY
                                            174      RIDER

                 It is
                    .
                       hereby understood
                                 • •
                                          and agreed that the Certificate to which this
                 Rider is attached shall be amended by the addition of the following:

                                 Applicable
                                 • Ira.  • t tot Vermont
                                                 I   •   Residents
                                                          •        Only


                The following
                          I if sections/provisions
                                             ■     of the Certificate are amended
                                                                            •     to
                                                                                  A
                comply with Vermont law:

                 1.      Schedule of Benefits section, Eliminationt Period
                                                                       •   provision.

                         The Elimination Period will be the lesser of the
                                                                       •
                                                                          number
                                                                             •
                                                                                •  of• days
                         shown on the Schedule
                                    •       f of Benefits in the certificate
                                                                     •         or:

                         For Benefit Periods 2 years
                                                  •
                                                     and greater:
                                                               •  365
                                                                    t t days.



                         For Benefit
                             •
                               B     Periods greater than 1 year but less than 2 years:
                                                                                  •• •

                         180 days.

                 2.      Definitions
                                I    section, definition
                                               I 'M       of Full-Time,
                                                                 t      if such definition
                         is included in the Certificate is replaced
                                                              I -    with:

                         "Full-time"
                                  -  means
                                      •--1   working for the Policyholder for a minimum
                                                                                 ■      of
                         17.5 hours during • your regular
                                               •
                                                    I     work week.

                 3.      Limitations section, Mental or Nervous Disorders and/or
                                                                            1

                         Substance Abuse, if such limitations are included
                                                                    •      in the
                                                                                m t

                         Certificate.

                         If Lthe Certificate
                                    I        contains
                                                  r - limitations
                                                               •   in coverage for mental or
                         nervous disorders and/or substance abuse, such limitations will
                                                     t

                         not apply to Vermont residents. Coverage for• these conditions
                                                                                      4

                         will be treated the same as other conditions thatf may entitle you
                                          •                      •


                         to full benefits.
                                    •




                 4.       Limitationsa section, Pre-existing Conditions,
                                                                 ▪   t z    if such
                                                                                 ■ t
                         •limitation is included in the Certificate.



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                 The pre-existing condition provision time period in.the definition
                 of Pre-existing Condition shall be the lesser of the time period
                 shown on the Limitations form in the Certificate or twelve (12)
                 months.

                 The period of time during which you become Totally Disabled
                 due to a Pre-existing Condition and a benefit is not payable for
                 such Total Disability is the lesser of the time period as shown in
                 the certificate or twelve ( 12) months.

          All other terms and conditions remain unchanged.


                                    RELIANCE STANDARD LIFE INSURANCE
                                    COMPANY



                                    ea,Q, .-
                                          Secretary




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                     Claim Procedures and
                   ERISA Statement of Rights




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                    CLAIM PROCEDURES FOR CLAIMS FILED WITH
                  RELIANCE STANDARD LIFE INSURANCE COMPANY
                          ON OR AFTER JANUARY 1, 2002


          CLAIMS FOR BENEFITS

          Claims may be submitted by mailing the completed form along with any
          requested information to:

          Reliance Standard Life Insurance Company
          Claims Department
          P.O. Box 8330
          Philadelphia, PA 19101-8330

          Claim forms are available from your benefits representative or may be
          requested by writing to the above address or by calling 1-800-644-1103.

          TIMING OF NOTIFICATION OF BENEFIT DETERMINATION

          Non-Disability Benefit Claims
          If a non-disability claim is wholly or partially denied, the claimant shall be
          notified of the adverse benefit determination within a reasonable period of
          time, but not later than 90 days after our receipt of the claim, unless it is
          determined that special circumstances require an extension of time for
          processing the claim. If it is determined that an extension of time for
          processing is required, written notice of the extension shall be furnished
          to the claimant prior to the termination of the initial 90-day period. In no
          event shall such extension exceed a period of 90 days from the end of
          such initial period. The extension notice shall indicate the special
          circumstances requiring an extension of time and the date by which the
          benefit determination is expected to be rendered.

          Calculating time periods. The period of time within which a benefit
          determination is required to be made shall begin at the time a claim is
          filed, without regard to whether all the information necessary to make a
          benefit determination accompanies the filing.




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          Disability Benefit Claims
          In the case of a claim for disability benefits, the claimant shall be notified
          of the adverse benefit determination within a reasonable period of time,
          but not later than 45 days after our receipt of the claim. This period may
          be extended for up to 30 days, provided that it is determined that such
          an extension is necessary due to matters beyond our control and that
          notification is provided to the claimant, prior to the expiration of the initial
          45-day period, of the circumstances requiring the extension of time and
          the date by which a decision is expected to be rendered. If, prior to the
          end of the first 30-day extension period, it is determined that, due to
          matters beyond our control, a decision cannot be rendered within that
          extension period, the period for making the determination may be
          extended for up to an additional 30 days, provided that the claimant is
          notified, prior to the expiration of the first 30-day extension period, of the
          circumstances requiring the extension and the date by which a decision
          is expected to be rendered. In the case of any such extension, the
          notice of extension shall specifically explain the standards on which
          entitlement to a benefit is based, the unresolved issues that prevent a
          decision on the claim, and the additional information needed to resolve
          those issues, and the claimant shall be afforded at least 45 days within
          which to provide the specified information.

          Calculating time periods. The period of time within which a benefit
          determination is required to be made shall begin at the time a claim is
          filed, without regard to whether all the information necessary to make a
          benefit determination accompanies the filing. In the event that a period
          of time is extended due to a claimant's failure to submit information
          necessary to decide a claim, the period for making the benefit
          determination shall be tolled from the date on which the notification of
          the extension is sent to the claimant until the date on which the claimant
          responds to the request for additional information.

          MANNER AND CONTENT OF NOTIFICATION                             OF    BENEFIT
          DETERMINATION
          Non-Disability Benefit Claims
          A Claimant shall be provided with written notification of any adverse
          benefit determination. The notification shall set forth, in a manner
          calculated to be understood by the claimant, the following:

          1. The specific reason or reasons for the adverse determination;
          2. Reference to the specific plan/policy provisions on which the
             determination is based;
          3. A description of any additional material or information necessary for




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             the claimant to perfect the claim and an explanation of why such
             material or information is necessary; and
          4. A description of the review procedures and the time limits applicable
             to such procedures, including a statement of the claimant's right to
             bring a civil action under section 502(a) of the Employee Retirement
             Income Security Act of 1974 as amended ("ERISA") (where
             applicable), following an adverse benefit determination on review.

          Disability Benefit Claims
          A claimant shall be provided with written notification of any adverse
          benefit determination. The notification shall be set forth, in a manner
          calculated to be understood by the claimant, the following:

          1. The specific reason or reasons for the adverse determination;
          2. Reference to the specific plan/policy provisions on which the
             determination is based;
          3. A description of any additional material or information necessary for
             the claimant to perfect the claim and an explanation of why such
             material or information is necessary;
          4. A description of the review procedures and the time limits applicable
             to such procedures, including a statement of the claimant's right to
             bring a civil action under section 502(a) of the Employee Retirement
             Income Security Act of 1974 as amended ("ERISA") (where
             applicable), following an adverse benefit determination on review;
             and
          5. If an internal rule, guideline, protocol, or other similar criterion was
             relied upon in making the adverse determination, either the specific
             rule, guideline, protocol, or other similar criterion; or a statement that
             such a rule, guideline, protocol, or other similar criterion was relied
             upon in making the adverse determination and that a copy of such
             rule, guideline, protocol, or other criterion will be provided free of
             charge to the claimant upon request.




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          The term "Reliance Standard Life Insurance Company" means Reliance
          Standard Life Insurance Company and/or its authorized claim
          administrators.


                             ERISA STATEMENT OF RIGHTS

          As a participant in the Group Insurance Plan, you may be entitled to
          certain rights and protections in the event that the Employee Retirement
          Income Security Act of 1974 (ERISA) applies. ERISA provides that all
          Plan Participants shall be entitled to:

          Receive Information About Your Plan and Benefits

          Examine, without charge, at the Plan Administrator's office and at other
          specified locations, such as worksites and union halls, all documents
          governing the Plan, including insurance contracts and collective
          bargaining agreements, and a copy of the latest annual report (Form
          5500 Series) filed by the Plan with the U.S. Department of Labor and
          available at the Public Disclosure Room of the Employee Benefits
          Security Administration.

          Obtain, upon written request to the Plan Administrator, copies of
          documents governing the operation of the Plan, including insurance
          contracts and collective bargaining agreements, and copies of the latest
          annual report (Form 5500 Series) and updated summary plan
          description. The Administrator may make a reasonable charge for the
          copies.

          Receive a summary of the Plan's annual financial report. The Plan
          Administrator is required by law to furnish each participant with a copy of
          this summary annual report.

          Prudent Actions by Plan Fiduciaries

          In addition to creating rights for Plan Participants, ERISA imposes duties
          upon the people who are responsible for the operation of the employee
          benefits plan. The people who operate your Plan, called "fiduciaries" of
          the Plan, have a duty to do so prudently and in the interests of you and
          other Plan Participants and Beneficiaries. No one, including your
          employer, your union, or any other person, may fire you or otherwise
          discriminate against you in any way to prevent you from obtaining a
          benefit or exercising your rights under ERISA.




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          Reliance Standard Life Insurance Company
                                                 -  • - I i   shall
                                                                i II serve B     as •the- claims
                                                                                          -   I    I

          review fiduciary with respect to the insuranceII      _policy and the Plan. The
                                                                      t      •   1                   a

          claims
             11.    review fiduciary has the discretionary
                                                   f _           authority
                                                                    ir sr1 to interpret
                                                                                      r 1   i    the
                                                                                                 I

          Plan and the insurance policy and
           In n
                                            1•  to determine
                                                     I - -• 1          eligibility
                                                                        1 11 for     - benefits.IF -
          Decisions by the claims review fiduciary shall be complete, final and
                                         •                  1 .   I              c -   IC - I   —

          binding
           •
                • _
                    on all parties.

          Enforce
          •   r   Your Rights
                           s■


          If your claim
                     E sr 1 for I 1a benefit is denied I     orI ignored,
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          have• - a right
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                                                            .1 1 to obtain
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          relating
           -- a
                     to the ..   decision
                                       r-
                                          _II without
                                                 _P _    charge,
                                                          _        and
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                                                                                         -  denial,
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          within certain
             It
                     •-•     time
                              I   0  schedules.
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          Under
             I       i ERISA, there are
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                                                                                     you can take to                  -    enforce       -      I the   I   above Irights.        II

          For instance, if you request                             1- - a       - copy  • of the Plan        •       ') documents                       I r or the   a      latest
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          annual
           t .         .   report
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                                                           J••      Plan  •     and do not. receive        i      m         them within      .        t      30 days,
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          may file     1 suit in a       .a     I —Federal   f           court. In such
                                                                            1   -       i      -          a case, the courtI may
                                                                                                           1     _    •      •        1                    — require 1111 •the        •
          Plan AI I Administrator          t             2to provide the          t , -materials  •          A and  - B1 pay you up to $110 a                               •
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          until  -      you receive the                     _ •       materials,
                                                                          iii..                unless
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          because         -- of reasons beyond the control
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                                                                                  t-                t     of the  B _ Administrator.•               r           If you have     t

          a_ claim  t - for   t       benefits
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          file
             •• suit _ 4 in a state or Federal court.                                       I
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          Plan's decision or lack thereof concerning the qualified status of a
          domestic
             a       _ •           relations
                                     •       •_            order
                                                             t B          or a medical          I        Ichild support               E order, you             a t_  may    r     file
                                                                                                                                                                                    •

          suit in Federal Court.
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          the
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          rights, you may seek assistance
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                                                                                                          r 1 1U.S. Department
                                                                                                                             _m     M M
                                                                                                                                                      r.s of Labor, tor
          you may         • 1file suitt in a                   a Federal court.
                                                                   I *      1"
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          pay court costs and legal fees. If you are successful, the court may
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          order    / the person you have sued to                1     1                 1 pay         ' Ithese
                                                                                                             It: EL costs     I      andI          fees. IfI you lose,
                                                                                                                                                   1

          Ithe     court may order you to Ipay these costs and fees, fort example, if it  I
              I                          NI           il                                               -          L     I.        •        -

          finds your claim is frivolous.




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          Assistance with Your Questions

          If you have any questions about your Plan, you should contact the Plan
          Administrator. If you have any questions about this statement or about
          your rights under ERISA, or if you need assistance in obtaining
          documents from the Plan Administrator, you should contact the nearest
          Office of the Employee Benefits Security Administration, U.S.
          Department of Labor, listed in your telephone directory or the Division of
          Technical Assistance and Inquiries, Employee Benefits Security
          Administration, U.S. Department of Labor, 200 Constitution Avenue,
          N.W., Washington, D.C.          20210.   You may also obtain certain
          publications about your rights and responsibilities under ERISA by calling
          the publications hotline of the Employee Benefits Security Administration.




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                    I   RELIANCE STANDARD
                        LIFI; INSURANCI; COMPANY
                        ,1, M.E!MSE!R O• 'THI! TOKIO t,4.A.llltU CROUP


                             Home Office: Chicago, Illinois
                   Administrative Office: Philadelphia, Pennsylvania




          LTD 124706                                                     CLASS 1
          Ed. 12/2013




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               other information relevant to the claimant's claim for benefits;
          4.   The review on (timely) appeal shall take into account all comments,
               documents, records, and other information submitted by the claimant
               relating to the claim, without regard to whether such information was
               submitted or considered in the initial benefit determination;
          5.   No deference to the initial adverse benefit determination shall be
               afforded upon appeal;
          6.   The appeal shall be conducted by an individual who is neither the
               individual who made the (underlying) adverse benefit determination
               that is the subject of the appeal, nor the subordinate of such
               individual;
          7.   Any medical or vocational expert(s) whose advice was obtained in
               connection with a claimant's adverse benefit determination shall be
               identified, without regard to whether the advice was relied upon in
               making the benefit determination; and
          8.    In deciding the appeal of any adverse benefit determination that is
               based in whole or in part on a medical judgment, the individual
               conducting the appeal shall consult with a health care professional:

               (a) who has appropriate training and experience in the field of
                   medicine involved in the medical judgment; and
               (b) who is neither an individual who was consulted in connection with
                   the adverse benefit determination that is the subject of the
                   appeal; nor the subordinate of any such individual.

          TIMING OF NOTIFICATION OF BENEFIT DETERMINATION ON
          REVIEW

          Non-Disability Benefit Claims
          The claimant (or their authorized representative) shall be notified of the
          benefit determination on review within a reasonable period of time, but
          not later than 60 days after receipt of the claimant's timely request for
          review, unless it is determined that special circumstances require an
          extension of time for processing the appeal. If it is determined that an
          extension of time for processing is required, written notice of the
          extension shall be furnished to the claimant prior to the termination of the
          initial 60-day period. In no event shall such extension exceed a period of
          60 days from the end of the initial period. The extension notice shall
          indicate the special circumstances requiring an extension of time and the
          date by which the determination on review is expected to be rendered.

          Calculating time periods. The period of time within which a benefit
          determination on review is required to be made shall begin at the time an
          appeal is timely filed, without regard to whether all the information




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          APPEALS OF ADVERSE BENEFIT DETERMINATIONS

          Appeals of adverse benefit determinations may be submitted in
          accordance with the following procedures to:

          Reliance Standard Life Insurance Company
          Quality Review Unit
          P.O. Box 8330
          Philadelphia, PA 19101-8330

          Non-Disability Benefit Claims
          1. Claimants (or their authorized representatives) must appeal within 60
             days following their receipt of a notification of an adverse benefit
             determination, and only one appeal is allowed;
          2. Claimants shall be provided with the opportunity to submit written
          2.
             comments, documents, records, and/or other information relating to
             the claim for benefits in conjunction with their timely appeal;
          3. Claimants shall be provided, upon request and free of charge,
             reasonable access to, and copies of, all documents, records, and
             other information relevant to the claimant's claim for benefits;
          4. The review on (timely) appeal shall take into account all comments,
             documents, records, and other information submitted by the claimant
             relating to the claim, without regard to whether such information was
             submitted or considered in the initial benefit determination;
          5. No deference to the initial adverse benefit determination shall be
             afforded upon appeal;
          6. The appeal shall be conducted by an individual who is neither the
             individual who made the (underlying) adverse benefit determination
             that is the subject of the appeal, nor the subordinate of such
             individual; and
          7. Any medical or vocational expert(s) whose advice was obtained in
             connection with a claimant's adverse benefit determination shall be
             identified, without regard to whether the advice was relied upon in
             making the benefit determination.

          Disability Benefit Claims
          1. Claimants (or their authorized representatives) must appeal within
              180 days following their receipt of a notification of an adverse benefit
              determination, and only one appeal is allowed;
          2. Claimants shall be provided with the opportunity to submit written
          2.
              comments, documents, records, and/or other information relating to
              the claim for benefits in conjunction with their timely appeal;
          3. Claimants shall be provided, upon request and free of charge,
              reasonable access to, and copies of, all documents, records, and




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          necessary to make a benefit determination on review accompanies the
          filing. In the event that a period of time is extended as above due to a
          claimant's failure to submit information necessary to decide a claim, the
          period for making the benefit determination on review shall be tolled from
          the date on which the notification of the extension is sent to the claimant
          until the date on which the claimant responds to the request for additional
          information.

          Disability Benefit Claims
          The claimant (or their authorized representative) shall be notified of the
          benefit determination on review within a reasonable period of time, but
          not later than 45 days after receipt of the claimant's timely request for
          review, unless it is determined that special circumstances require an
          extension of time for processing the appeal. If it is determined that an
          extension of time for processing is required, written notice of the
          extension shall be furnished to the claimant prior to the termination of the
          initial 45-day period. In no event shall such extension exceed a period of
          45 days from the end of the initial period. The extension notice shall
          indicate the special circumstances requiring an extension of time and the
          date by which the determination on review is expected to be rendered.

          Calculating time periods. The period of time within which a benefit
          determination on review is required to be made shall begin at the time an
          appeal is timely filed, without regard to whether all the information
          necessary to make a benefit determination on review accompanies the
          filing. In the event that a period of time is extended as above due to a
          claimant's failure to submit information necessary to decide a claim, the
          period for making the benefit determination on review shall be tolled from
          the date on which the notification of the extension is sent to the claimant
          until the date on which the claimant responds to the request for additional
          information.

          MANNER AND CONTENT OF NOTIFICATION OF BENEFIT
          DETERMINATION ON REVIEW
          Non-Disability Benefit Claims
          A claimant shall be provided with written notification of the benefit
          determination on review. In the case of an adverse benefit determination
          on review, the notification shall set forth, in a manner calculated to be
          understood by the claimant, the following:

          1. The specific reason or reasons for the adverse determination;
          2. Reference to the specific plan/policy provisions on which the
             determination is based;




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          3. A statement that the claimant is entitled to receive, upon request and
             free of charge, reasonable access to, and copies of, all documents,
             records, and other information relevant to the claimant's claim for
             benefits; and
          4. A statement of the claimant's right to bring an action under section
             502(a) of ERISA (where applicable).

          Disability Benefit Claims
          A claimant must be provided with written notification of the determination
          on review. In the case of adverse benefit determination on review, the
          notification shall set forth, in a manner calculated to be understood by the
          claimant, the following:

          1. The specific reason or reasons for the adverse determination;
          2. Reference to the specific plan/policy provisions on which the
             determination is based;
          3. A statement that the claimant is entitled to receive, upon request and
             free of charge, reasonable access to, and copies of, all documents,
             records, and other information relevant to the claimant's claim for
             benefits;
          4. A statement of the claimant's right to bring an action under section
             502(a) of ERISA (where applicable);
          5. If an internal rule, guideline, protocol, or other similar criterion was
             relied upon in making the adverse determination, either the specific
             rule, guideline, protocol, or other similar criterion; or a statement that
             such a rule, guideline, protocol, or other similar criterion was relied
             upon in making the adverse determination and that a copy of such
             rule, guideline, protocol, or other criterion will be provided free of
             charge to the claimant upon request; and
          6. The following statement: "You and your plan may have other
             voluntary alternative dispute resolution options, such as mediation.
             One way to find out what may be available is to contact your local
             U.S. Department of Labor Office and your State insurance regulatory
             agency (where applicable)."




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          DEFINITIONS

          The term "adverse benefit determination" means any of the following: a
          denial, reduction, or termination of, or a failure to provide or make
          payment (in whole or in part} for, a benefit, including any such denial,
          reduction, termination, or failure to provide or make payment that is
          based on a determination of a participant's or beneficiary's eligibility to
          participate in a plan.



          The term "us" or "our" refers to Reliance Standard Life Insurance
          Company.



          The term "relevant" means:

          A document, record, or other information shall be considered relevant to
          a claimant's claim if such document, record or other information:

          •   Was relied upon in making the benefit determination;

          •   Was submitted, considered, or generated in the course of making the
              benefit determination, without regard to whether such document,
              record or other information was relied upon in making the benefit
              determination;

          •   Demonstrates compliance with administrative processes and
              safeguards designed to ensure and to verify that benefit claim
              determinations are made in accordance with governing plan
              documents and that, where appropriate, the plan provisions have
              been applied consistently with respect to similarly situated claimants;
              or

          •   In the case of a plan providing disability benefits, constitutes a
              statement of policy or guidance with respect to the plan concerning
              the denied benefit of the claimant's diagnosis, without regard to
              whether such advice or statement was relied upon in making the
              benefit determination.




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  'RELIANCE        STANDARD
   LIFE INSURANCE COMPANY
                                                                                               P.O. Box 8330
                                                                                Philadelphia, PA 19101-8330
                                                                                              (800) 351-7500
    A MEMBER OF THE TOKIO MARI HE GROUP                                                  Fax (267) 256-4262

    September 30, 2021



    Krista Rosenberg                                                            EXHIBIT "B"
    I 02 NE 2nd St #305
    Boca Raton, FL 33432



    Re: Claimant:              Krista Rosenberg
        Policy No:             LTD 124706
        Claim No:              2021-04-29-0227-LTD-0 I
        Policyholder:          Retina Vitreous Consultants, LLP dba Retina Group of Florida


    Dear Krista Rosenberg:


    We would like to express our appreciation for your patience and cooperation during the review
    of your claim for Long Tenn Disability (LTD) benefits. We have now completed our
    determination regarding your eligibility for benefits under the above group LTD policy.

    The group policy states:

    ELIGIBLE CLASSES: Each active, Full-time employee, except any person employed on a
    temporary or seasonal basis, according to thefollowing classifications:

       CLASS 1: Owner/ Physician who:
           (]) is engaged in a non-hazardous occupation; and
           (2) functions primarily in an office environment.

       CLASS 2: Manager and Administrator




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     CLASS 1: "Covered Monthly Earnings" means the Insured's monthly salary received from you
     on the day just before the date of Total Disability, prior to any deductions to a 401 (k) and
     Section 125 plan. Covered Monthly Earnings does not include commissions, overtime pay,
     incentive pay or any other special compensation not received as Covered Monthly Earnings.
     However, "Covered Monthly Earnings" will include bonuses received Ji-om you averaged over
     the lesser of

        (J) the number of months worked; or
        (2) the 36 months;

     Just prior to the date Total Disability began.

    AND

     With respect to a Partner, "Covered Monthly Earnings" means the Insured's compensationfi·om
     the partnership averaged over the lesser of

        (1) the number ofmonths worked; or
        (2) the 36 months;

    in the calendar year(s) prior to the date Total Disability began, as reported on the partnership
    federal income tax return as "self-employment earnings (loss)" per Schedule Kl, Federal Form
    1065 (box 14).

     If the Insured was not a partner during the calendar year prior to the date Total Disability
     began, "Covered Monthly Earnings" means the Insured's average monthly compensation
     (excluding dividends, capital gains and return of capital) from the partnership prior to the date
     Total Disability began, determined in accordance with the terms of the Insured's partnership
     agreement.


     MONTHLY BENEFIT: The Monthly Benefit is an amount equal to 60% of Covered Monthly
     Earnings, payable in accordance with the section entitled Benefit Amount.

     In order to calculate the Covered Monthly Earnings ( defined above), we reviewed your Schedule
     Kl Federal Form 1065 for the 36 months (2018, 2019 and 2020) prior to your disability date of
     February 24, 2021. In review of the Schedule Kl, for each of the 3 years, there is no reported
     income in Box 14 as self-employment earnings (loss). As it appears, in review of your tax
     returns, that your employer is paying your corporation and not you directly, there are no eligible
     earnings upon which to base a benefit in accordance with your group's LTD policy definition of
     Covered Monthly Earnings.

     We regret our decision could not be more favorable. Our determination has been based on the
     information contained in your file and the policy provisions applicable to your claim.

     You may request a review of this determination by submitting your request in writing to:

                                Reliance Standard Life Insurance Company
                                           Quality Review Unit
                                             P.O. Box 8330
                                      Philadelphia, PA 19101-8330


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    This written request for review must be submitted within 180 days of your receipt of this letter.
    Your request should state any reasons why you feel this determination is incorrect, and should
    include any written comments, documents, records, or other information relating to your claim
    for benefits, including but not limited to any information submitted in conjunction with any
    claim for Social Security disability or other benefits which you would like us to consider. Only
    one review will be allowed, and your request must be submitted within 180 days of your receipt
    of this letter to be considered.

    Any such review will be conducted by an individual who is neither the individual who made the
    underlying detennination that is the subject of the review, nor the subordinate of such individual.
    Under normal circumstances, you will be notified in writing of the final determination within 45
    days of the date we receive your request for review. Ifwe detennine that special circumstances
    require an extension of time for processing, you will ordinarily be notified of the decision no
    later than 90 days from the date we receive your request for review.

    We will, upon specific request and free of charge, provide copies of all documents, records,
    and/or other information relevant to your claim for benefits. We will also, upon specific request
    and free of charge, provide copies of any internal rule, guideline, protocol or other similar
    criterion (if any) relied upon in making this detennination.

    In the event that your claim is subject to the Employee Retirement Income Security Act of 197 4
    ("the Act"), you have the right to bring a civil action under section 502(a) of the Act following an
    adverse benefit determination on review. Your failure to request a review within 180 days of
    your receipt of this letter may constitute a failure to exhaust the administrative remedies
    available under the Act, and affect your ability to bring civil action under the Act.

    Nothing in this letter should be construed as a waiver of any of Reliance Standard Life Insurance
    Company's rights and defenses under the above policy, and all these rights and defenses are
    reserved to the Company, whether or not specifically mentioned herein.

    If you have any questions regarding this matter, please feel free to contact us at 1-800-351-7500.

    Sincerely,

     ,vit,/berzef c7.42.42e,a
    6?.

    Courtney Holmes for Lorrie Dobson
    LTD Claims Department




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                                     NOTICE OF LANGUAGE ASSISTANCE SERVICES

                                                J!�#}i!;/JJl�Hi� (Chinese)
                                 SAAD BEE AKA E'EYEED NIHA HOLQ (Navajo)

                        AVISO SOBRE LOS SERVICIOS DE ASISTENCIA LINGUISTICA {Spanish)

                              ABISO SA MGA SERBISYO NG TU LONG SA WIKA (Tagalog)




    If you need language assistance in translating this letter, language interpretation during phone calls, or
    language assistance for any other matters relating to your claim, please call.

    :ilu*12ltEIJ'l"¥Jls:Ei§ f!1f//i �ifi �m-Jl/J, tE:i/!h!Wl l'iiJ \l'li�ifi � P w, !%Jm�� 12;:FJlJilil'ff :¥:1:f ioJAB '.;'.
    �il�-tfi�#})!JJ, -li!Hi.J(iti,, (Chinese)

    Haada yit'eego dil naaltsoos nich'i' alyaaigii t'aa shizaad k' ehji shich'i' yid6oltah ninizingo d66 t'aa
    shizaad k'ehjf choo'ii dooleel nfnfzingo t'aa ha'at'fhf da kwe'e bfdeet'i'fgii biniiye koj[' hodiilnih.
    (Navajo)

     Si necesita asistencia lingufstica para traducir esta carta, servicios de interpretaci6n durante llamadas
    telef6nicas o asistencia con cualquier otro asunto relacionado con su reclamo, llamenos. (Spanish)

    Kung kailangan mo ng tu long sa wika sa pagsasalin sa liham na ito, pasalitang pagsasalin sa wika sa
    panahon ng mga tawag sa telepono, o tu long sa wika sa anumang ibang mga usapin sa iyong
    paghahabol, pakitawagan ang. (Tagalog)




                                                       EXHIBIT "B"
                                          -
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                                                           LIGGIO                                  EXHIBIT "C"
                                                           CORNELL
                                                          ATTORNEYS AT LAW


                                       March 3, 2022

                                       Reliance Standard Life Insurance Company       Lorrie Dobson
                                       Quality Review Unit                            Reliance Standard Life Ins. Co.
                                       P.O. Box 8330                                  2001 Market Street, Suite 1500
                                       Philadelphia, PA 19101-8330                    Philadelphia, PA 19103

                                              Re:    Claimant:       Krista Rosenberg
                                                     Policy No:      LTD 124706
                                                     Claim No:       2021-04-29-0227-LTD-01
                                                     Policyholder:   Retina Vitreous Consultants, LLP dba Retina
                                                                     Group of Florida
                                       Dear Ms. Dobson,

                                           I have reviewed Reliance Standard’s repeated denials of Dr. Rosenberg’s
                                       disability claim.

                                           The instant policy, was sold to Dr. Rosenberg and her co-owners of Retina
                                       Vitreous Consultants, LLP d/b/a Retina Group of Florida back in 2013, by a
                                       licensed and appointed Reliance Standard Agent, Baruch Levi:
                                       https://licenseesearch.fldfs.com/Licensee/185483

                                           Indeed, in 2013, through the present time, the Retina Group partners,
                                       including Dr. Rosenberg, each had established Subchapter S corporations and
                                       their income from the Retina Group simply passed through to them from the
                                       Retina Group.

                                           Mr. Levi (and therefore Reliance Standard) knew this when the instant
                                       policy was bound and issued in 2013.

           *+Jeffrey M. Liggio            This policy is governed by Florida Law.
              L. Jason Cornell
          *National Board Certified
               Civil Trial Advocate
                                           It is long-standing Florida Law that knowledge of the insurance agent is
           +Florida Board Certified    always imputed to the insurer which he represents. Almerico v. RLI Ins. Co.,
                 Civil Trial Lawyer
                                       716 So.2d 774, 776 (Fla. 1998); Desantolo v. John Alden Life Insurance Co.,
                        Paralegal:     744 So.2d 1123 (Fla. 4th DCA 1999); Straw v. Associated, 728 So.2d 354 (Fla.
          ◊ Kathy G. Harmon            5th DCA 1999); Gaskin v. General Insurance Company of Florida, 397 So.2d
      ◊ Florida Registered Paralegal   729 (Fla. 1st DCA 1981). See also: Essex Ins. Co. v. Zota, 985 So.2d 1036,
                                       1046 (Fla. 2008)
           Barristers Building
                       Suite 3-B
                                           While I am not sure what transpired between Mr. Levi and Reliance
           1615 Forum Place
                                       Standard when the instant policy was initially bound back in 2013, I do
            West Palm Beach
                                       understand that since Reliance Standard has denied Dr. Rosenberg’s claim,
                 Florida 33401
                                       that the local Reliance Standard agents and Reliance Standard have agreed
    Phone: 561-616-3333
                                       to amend the instant policy to clarify that Dr. Rosenberg and the other Retina
       Fax: 561-616-3266
E-mail: info@liggiolaw.com
   www.liggiocornell.com                                         EXHIBIT "C"
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   Group principals’ Subchapter-S Corporations were and are indeed covered individuals.

      Even without an amendment to the instant policy, Reliance Standard’s interpretation of
   the policy language to deny benefits to Dr. Rosenberg because her income from Retina
   Associates passes through her subchapter – S corporation and is not a W-2 wage, is also
   contrary to Florida Law.

      Here is the “Covered Monthly Earnings” definition within the instant policy:

                 “Covered Monthly Earnings” means your basic monthly salary
                 received from the Policyholder on the day just before the date of
                 Total Disability, prior to any deductions to a 401(k) and Section
                 125 plan. Covered Monthly Earnings does not include
                 commissions, overtime pay, incentive pay or any other special
                 compensation not received as Covered Monthly Earnings.
                 However, “Covered Monthly Earnings” will include bonuses
                 received from the Policyholder averaged over the lesser of:

                 (1) the number of months worked; or

                 (2) the 36 months;

                 just prior to the date Total Disability began.

                 And

                 “Covered Monthly Earnings’ means your compensation from the
                 partnership averaged over the lesser of:

                 (1) the number of months worked; or

                 (2) the 36 months;

                 in the calendar year(s) prior to the date Total Disability began,
                 as reported on the partnership federal income tax return (K1) as
                 “net earnings (loss) from self-employment”.

        Even though that definition includes the phrase “basic monthly salary” there is no
   verbiage within the policy that excludes pass-through income to a Subchapter – S
   corporation, and no verbiage that limits “basic monthly salary” to W-2 wages.

       There are very strict rules of insurance policy interpretation in Florida that Reliance
   Standard’s denial of benefits to Dr. Rosenberg simply ignore. Rather than recount them in
   this letter, I direct your attention to several Florida cases: Travelers Indemnity Co. v. PCR
   Inc., 889 So. 2d 779, 785 (Fla. 2004); Washington Nat. Ins. Corp. v. Ruderman, 117 So. 3d
   943, 948 (Fla. 2013); Robles v. United Auto. Ins. Co., 2021 WL 1743606 (Fla. 1st DCA 2021).

      Finally, a cursory bit of legal research reveals that a Federal Court in an ERISA matter in
   California, (the instant policy is not governed by ERISA) more than a decade ago, rejected



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   Reliance Standard’s improper interpretation of “Covered Monthly Earnings” as it has towards
   Dr. Rosenberg.

     I’ve enclosed a copy of that opinion, Joas, MD. V. Reliance Standard Life Insurance
   Company, 621 F.Supp.2d 1001 (S.D. Cal 2007) for your consideration.

       Dr. Rosenberg has fully complied with each and every obligation she has, under the
   instant policy, and had complied with every request by Reliance in regard to her claim.

      I strongly urge you to reconsider your position forthwith, and:

                 1) Approve Dr. Rosenberg’s claim;
                 2) Pay Dr. Rosenberg all unpaid back benefits with interest, and;
                 3) Place her on claim going forward.

       I can’t imagine that it will take more than 30 days to reconsider, pay the back benefits with
   interest, and place Dr. Rosenberg on claim going forward. Therefore, I’ll expect to hear from
   you no later than 30 days after your receipt of this letter.

                                               Sincerely,

                                                         tk
                                               Jeffrey M. Liggio, Esq.




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                                                        621 F.Supp.2d 1001 (2007)

                                        Thomas A. JOAS, M.D., Plaintiff,
                                                     v.
                            RELIANCE STANDARD LIFE INSURANCE COMPANY, Defendant.

                                                     Case No. 03CV850 WQH (AJB).

                                              United States District Court, S.D. California.

                                                            December 11, 2007.

1002 *1002 David Blair Sharp, Law Offices of David B. Sharp, San Diego, CA, for Plaintiff.

      Kevin P. McNamara, Harrington, Foxx, Dubrow and Canter, Los Angeles, CA, for Defendant.


      ORDER GRANTING PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT AND
      DENYING DEFENDANT'S MOTION FOR SUMMARY JUDGMENT

      HAYES, District Judge.

      Pending before the Court are cross-motions for summary judgment following remand from the Court of Appeal for the Ninth
      Circuit. (Docs. # 57, 59). On September 24, 2007, the Court heard oral argument on these matters. (Doc. # 67).


      PROCEDURAL BACKGROUND

      On or about April 4, 2003, Plaintiff Thomas A. Joas, M.D. filed the Complaint in this matter against Defendant Reliance
      Standard Life Insurance Company in the California State Superior Court in San Diego. (Doc. # 1). Plaintiff alleged that
      Defendant improperly calculated Plaintiff's disability benefits in violation of various state laws. (Doc. # 1). On May 19, 2003,
      Defendant Reliance Standard Life Insurance Company removed the case to this Court on the grounds that the dispute was
      governed by the Employee Retirement Income Security Act of 1974 (ERISA), 29 U.S.C. §§ 1001, et seq., and presented a
      federal question. (Doc. # 1). Plaintiff did not challenge the removal.

      On March 25, 2004, the parties filed cross-motions for summary judgment. (Docs. # 16-17, 22-23). Thereafter, on April 29,
      2004, the Court granted Defendant's motion for summary judgment and denied Plaintiff's motion for summary judgment.
      (Doc. # 34). On May 21, 2004, Plaintiff filed a notice of appeal. (Doc. # 36).

      On January 3, 2007, the Court of Appeal for the Ninth Circuit vacated this Court's Order of April 29, 2004, and remanded
      the case back to this Court for reconsideration in light of Abatie v. Alta Health & Life Insurance Co., 458 F.3d 955 (9th
      Cir.2006) (en banc), an intervening Circuit decision which altered the standard of review for a district court in ERISA cases.
      (Doc. # 69). On July 25, 2007, the parties filed the pending cross-motions for summary judgment. (Docs. # 57, 59).

1003 *1003   FACTS

      Plaintiff is a medical doctor licensed to practice medicine in the State of California, with a specialty in anesthesiology.
      Declaration of Thomas A. Joas (Joas Decl.) (Doc. # 61), ¶ 2. On July 1, 1971, Plaintiff became a shareholder and employee
      of Anesthesia Service Medical Group, Inc. (ASMG), a California corporation. Joas Decl., ¶ 3. As an employee of ASMG,
      Plaintiff received monthly compensation which fluctuated depending on (1) "the amount billed and collected by ASMG for
      the professional service that [Plaintiff] rendered on ASMG's behalf," and (2) the administrative fee charged by ASMG. Joas
      Decl., ¶¶ 4, 6. Between November, 1999, and November, 2001, Plaintiff received the following monthly compensation:

         Month       Amount


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      11/99        $15,126.17
      12/99        $17,116.13
      1/00         $21,714.77
      2/00         $12,203.08
      3/00         $ 9,640.12
      4/00         $21,917.05
      5/00         $14,039.76
      6/00         $ 8,851.30
      7/00         $20,037.03
      8/00         $21,575.97
      9/00         $22,799.05
      10/00        $ 8,617.60
      11/00        $15,109.80
      12/00        $20,204.94
      1/01         $ 8,063.91
      2/01         $ 4,915.79
      3/01         $12,950.39
      4/01         $12,749.14
      5/01         $ 7,266.23
      6/01         $12,635.32
      7/01         $11,009.22
      8/01         $18,715.38
      9/01         $19,492.20
      10/01        $10,509.75
      11/01        $ 8,578.41

    Joas Decl., ¶¶ 6, 10

    ASMG contracted with Defendant Reliance Standard Insurance Company to provide disability insurance benefits to ASMG
    shareholders and employees. Joas Decl., ¶ 8; Declaration of Glen Buberl (Buberl Decl.) (Doc. # 19), ¶¶ 8-11. ASMG
    employees were required to participate in "the group longterm disability insurance program," and ASMG paid Defendant
    premiums for long term disability insurance for the years 2000 and 2001. Buberl Decl., ¶ 10. Each ASMG employee and
    shareholder is an anesthesiologist. Buberl Decl., ¶ 5.

    The insurance policy entered into between ASMG and Defendant provided monthly disability benefits to ASMG employees
    if, among other things, one of the employees "is Totally Disabled as a result of a Sickness or Injury covered by this Policy."
    Declaration of David B. Sharp (Sharp Decl.) (Doc. # 63), Ex. 1 at 18. To determine the amount of monthly benefits a totally
    disabled person would be entitled to under the policy, the policy provided in relevant part:

             BENEFIT AMOUNT: To figure the benefit amount payable:

             (1) multiply an Insured's Covered Monthly Earnings by the benefit percentage(s), as shown on the Schedule
             of Benefits page;

             (2) take the lesser of the amount:

             (a) of step (1) above; or

             (b) the Maximum Monthly Benefit, as shown on the Schedule of Benefits page; and

             (3) subtract Other Income Benefits, as shown below, from step (2) above.

    Sharp Decl., Ex. 1 at 18. The policy defined "Covered Monthly Earnings" as:

             "Covered Monthly Earnings" means the insured's monthly salary received from you on the day just before
             the date of Total Disability, prior to any deductions to a 401(k) plan. Covered Monthly Earnings do not include
             commissions, overtime pay, bonuses or any other special compensation not received as Covered Monthly

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1004          Earnings. However, for a *1004 salesperson, "Covered Monthly Earnings" will include commissions received
              from you averaged over the lesser of:

              (1) the number of months worked; or

              (2) the 24 months just prior to the date Total Disability began.

              If hourly paid employees are insured, the number of hours worked during a regular work week, not to exceed
              forty (40) hours per week, times 4.333, will be used to determine Covered Monthly Earnings. If an employee
              is paid on an annual basis, then the Covered Monthly Earnings will be determined by dividing the basis
              annual salary by 12.

       Sharp Decl., Ex. 1 at 8. It is undisputed that Defendant was responsible for paying benefits under the insurance policy.
       Sharp Decl., Ex. 7 at 14. It is further undisputed that the policy granted Defendant "the discretionary authority to interpret the
       Plan and the insurance policy and to determine eligibility for benefits." Sharp Decl., Ex. 7 at 14.

       On November 30, 2001, Plaintiff suffered a major stroke and became totally disabled. Joas Decl., ¶ 5 & Ex. B. Plaintiff filed
       a claim under the disability insurance policy entered into between ASMG and Defendant, and on May 9, 2002, Defendant
       approved the claim. Joas Decl., ¶¶ 8-9 & Ex. B. In its letter to Plaintiff approving Plaintiff's insurance claim, Defendant
       outlined its benefits determination, and noted "[y]our net monthly benefit is $1,523.72 payable in accordance with the terms
       of the group policy." Joas Decl., Ex. B. In calculating Plaintiff's net monthly benefit, Defendant concluded that Plaintiff was a
       salaried employee, and thus Plaintiff's net monthly benefit was calculated as 60% of Plaintiff's salary the month before he
       was disabled, less retirement pension and California state disability payments. Joas Decl., Ex. B. In calculating Plaintiff's
       benefits, Defendant used Plaintiff's November, 2001, compensation of $8,578.41, as follows:

          Monthly Eligible Salary @
           60% [60% of $8,578.41]                    $5,147.05
          Less Retirement Pension                    $1,500.00
          Less CA State Disability                   $2,123.33
                                                     _________
          Monthly Benefit                            $1,523.72

       See Joas Decl., Ex. B.

       Plaintiff immediately disagreed with Defendant's benefits calculation. On May 21, 2002, Plaintiff wrote Defendant to outline
       Plaintiff's concerns and to indicate that Plaintiff did not accept Defendant's benefits determination. Joas Decl., ¶ 10 & Ex. C.
       In the letter, Plaintiff noted that his compensation fluctuated month-to-month, and indicated that he should be classified as a
       salesperson as opposed to a salaried employee. Joas Decl., Ex. C. As a "salesperson" under the policy, Plaintiff would have
       received 60% of his average monthly compensation over the previous twenty-four months, less retirement and California
       state disability deductions, which would have resulted in monthly benefit payments of approximately $5,058.17, or
       $3,534.45 more per/month than Defendant outlined in its letter of May 9, 2002. Joas Decl., ¶ 14. Plaintiff's letter stated that,
       "I do not expect to be penalized by the fact that my stroke happened to occur at the end of a period for which I had taken a
       lot of time off to attend professional meetings." Joas Decl., Ex. C.

       Defendant did not immediately respond to Plaintiff's letter of May 21, 2002, and on June 17, 2002, Plaintiff sent a follow-up
       letter to Defendant. Joas Decl., Ex. D. Plaintiff wrote that:

              I now find that it has been six and a half months since my stroke and I still do not have a final determination
              as to the payments to which I am entitled under my disability insurance. I wrote to you on May 21, 2002 and
1005          raised a fairly straightforward point about your interpretation of the meaning of the language *1005 in my
              disability policy and now, over three weeks later, I have received no response to my questions. Since the
              point that I raised is not complicated, it would seem to me that I should be able to obtain a prompt response
              without having to enlist the services of an attorney.

       Joas Decl., Ex. D. In a letter dated June 25, 2002, Defendant responded to Plaintiff's letters, and, after citing the language
       of the policy, concluded that,


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              We do understand your earnings fluctuate from month to month based upon the work you perform and the
              fees collected; however, our position is an Anesthesiologist is not a "salesperson". We must administer your
              benefits according to the provisions of your group policy. It is not our intent to penalize you; we would have
              used the same pay period had your earnings been higher.

      Joas Decl., Ex. E.

      After receiving Defendant's letter of June 25, 2002, Plaintiff retained attorney David B. Sharp to assist with recovering
      benefits from Defendant. Joas Decl., ¶ 13. On September 12, 2002, Sharp wrote to Defendant seeking "copies of all
      documents and records which were relevant to determining [Dr. Joas's] benefit payment." Declaration of David B. Sharp
      (Sharp Decl.) (Doc. # 63), Ex. 4. Sharp also sought, "copies of internal rules, guidelines, protocol and other criteria relied
      upon in making Reliance's determination," as well as "examples of similarly situated persons where Reliance used the same
      benefit analysis as for Dr. Joas, and examples of similarly situated persons for which Reliance used a different method of
      determining benefits than you did for Dr. Joas." Sharp Decl., Ex. 4.

      Reliance did not immediately answer Sharp's letter of June 25, 2002, resulting in follow-up letters dated October 4, 2002,
      and October 22, 2002, in which Sharp once again requested copies of all relevant documentation. Sharp Decl., Exs. 5-6.
      Thereafter, in a letter dated October 21, 2002, Defendant responded to Sharp's request, noting, "We apologize for our delay
      in responding .... As per your request, enclosed are copies of all relevant documents and records pertaining to Dr. Joas'
      benefit payment." Sharp Decl., Ex. 7. Defendant's letter of October 21, 2002, did not address Sharp's request for examples
      of similarly situated persons, and did not include "work papers or documents generated or created by ... any [claim]
      examiner," or Defendant's "file." Sharp Decl., Exs. 7-8. On October 25, 2002, and December 12, 2002, Sharp authored
      letters to Defendant again seeking the previously requested information and documentation. Sharp Decl., Exs. 8, 11, 13. On
      November 12, 2002, Sharp filed an official request for review of Defendant's benefits decision. Sharp Decl., Ex. 10.

      Defendant did not address Sharp's requests for examples of similarly situated persons or "work papers" created by any
      examiner until December 26, 2002, and then simply noted that, "[p]lease be advised that we have given you all of the
      information you have requested.... Unfortunately, we cannot disclose to you data referencing other claimants." Sharp Decl.,
      Ex 12. Sharp's later requests for specific examples and other information went unanswered. Sharp Decl., Exs. 13-15.

      On July 25, 2007, and in connection with the cross-motions for summary judgment, Defendant filed the administrative
      record in this case. (Doc. # 58). The administrative record filed on July 25, 2007, included substantially more documents
1006 than were provided to Plaintiff and the Court in 2004 when the Court ruled on the parties' previous *1006 motions for
     summary judgment. See (Doc. # 24); Sharp Decl., Ex. 7.


      STANDARDS OF REVIEW

      I. Summary Judgment

      Summary judgment is appropriate under Rule 56 of the Federal Rules of Civil Procedure where the moving party
      demonstrates the absence of a genuine issues of material fact and entitlement to judgment as a matter of law. FED. R. CIV.
      P. 56(c); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986). A fact is material
      when, under the governing substantive law, it could affect the outcome of the case. Anderson v. Liberty Lobby, Inc., 477
      U.S. 242, 248, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986). A dispute over a material fact is genuine if "the evidence is such that
      a reasonable jury could return a verdict for the nonmoving party." Id.

      In ruling on a motion for summary judgment, "[t]he district court may limit its review to the documents submitted for
      purposes of summary judgment and those parts of the record specifically referenced therein." Carmen v. San Francisco
      Unified Sch. Dist., 237 F.3d 1026, 1030 (9th Cir.2001). The court must view all inferences drawn from the underlying facts in
      the light most favorable to the nonmoving party. Matsushita, 475 U.S. at 587, 106 S.Ct. 1348.


      II. ERISA Benefits Decision


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      The parties seek review of Defendant's decision to deny certain benefits to Plaintiff under the insurance policy. Under the
      facts of this case, it is undisputed that Defendant both funded the insurance policy and had discretion to interpret the
      policy's terms and decide eligibility for benefits. The parties agree that Defendant operated under a structural conflict of
      interest.


      A. The Abatie Standard Generally

      Where an ERISA-covered plan confers discretionary authority to interpret the plan upon a plan administrator operating
      under a conflict of interest, a district court reviewing a benefits decision made pursuant to the plan applies the standard of
      review articulated in Abatie v. Alta Health & Life Insurance, 458 F.3d 955 (9th Cir.2006) (en banc). In Abatie, the Court of
      Appeal for the Ninth Circuit held that, where a plan confers discretion upon a conflicted plan administrator to interpret the
      plan, a district court reviews the decision of the conflicted plan administrator for an abuse of discretion, "tempered by
      skepticism commensurate with the plan administrator's conflict of interest." Abatie, 458 F.3d at 959. Specifically, the Court of
      Appeal for the Ninth Circuit held that:

              [a] district court, when faced with all the facts and circumstances, must decide in each case how much or
              how little to credit the plan administrator's reason for denying insurance coverage. An egregious conflict may
              weigh more heavily (that is, may cause the court to find an abuse of discretion more readily) than a minor,
              technical conflict might. But in any given case, all the facts and circumstances must be considered .... A
              straightforward abuse of discretion analysis allows a court to tailor its review to all the circumstances before
              it.

     Abatie, 458 F.3d at 968. Though the Court of Appeal noted that the standard articulated in Abatie was "indefinite," the Court
     added that the district court's task was akin to assessing a witness's credibility in a bench trial—"[w]hat the district court is
1007 doing in an ERISA benefits denial case is making something akin to a credibility determination about the insurance *1007
     company's or plan administrator's reason for denying coverage under a particular set of medical and other records." Abatie,
     458 F.3d at 969. The Court added that,

              The level of skepticism with which a court views a conflicted administrator's decision may be low if a
              structural conflict of interest is unaccompanied, for example, by any evidence of malice, of self-dealing, or of
              a parsimonious claims-granting history. A court may weigh a conflict more heavily if, for example, the
              administrator provides inconsistent reasons for denial, Lang [v. Long-Term Disability Plan of Sponsor Applied
              Remote Technology, Inc.], 125 F.3d [794] at 799 [ (9th Cir.1997) ]; fails adequately to investigate a claim or
              ask the plaintiff for necessary evidence, Booton v. Lockheed Med. Benefit Plan, 110 F.3d 1461, 1463-64 (9th
              Cir.1997); fails to credit a claimant's reliable evidence, Black & Decker Disability Plan v. Nord, 538 U.S. 822,
              834, 123 S.Ct. 1965, 155 L.Ed.2d 1034 (2003); or has repeatedly denied benefits to deserving participants
              by interpreting the plan terms incorrectly or by making decisions against the weight of evidence in the record.

      Abatie, 458 F.3d at 968-69. In determining "the nature, extent, and effect on the decision-making process of any conflict of
      interest," the district court may consider evidence outside the administrative record. Abatie, 458 F.3d at 970.


      B. The Standard of Review Under the Facts of This Case

      Defendant contends that the structural conflict of interest is a technical conflict which should not substantially alter the
      abuse of discretion standard of review. Defendant contends that the Court should employ an abuse of discretion standard of
      review tempered with only a low level of skepticism under the facts of this case. Plaintiff contends that the Court should
      review Defendant's benefits decision either de novo or for an abuse of discretion tempered with a substantial and high
      degree of skepticism. Plaintiff contends that the facts of this case warrant a high degree of skepticism toward Defendant's
      interpretation because Defendant (1) failed to comply with ERISA's administrative review requirements, (2) has interpreted
      similar policy language inconsistently in other cases, (3) failed to produce relevant information which Plaintiff requested in
      order to challenge Defendant's benefits determination, and (4) produced an administrative record in July, 2007, which
      included documents which had not been lodged with the Court or provided to Plaintiff prior to the originally filed cross-
      motions for summary judgment.


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       Where an ERISA plan denies an insured benefits, ERISA requires the plan to "establish and maintain a procedure by which
       a claimant shall have a reasonable opportunity to appeal an adverse benefit determination ... under which there will be a full
       and fair review of the claim and the adverse benefit determination." 29 C.F.R. § 2560.503-1(h)(1) (emphasis added). The
       claims procedures will not be deemed to provide a claimant with a reasonable opportunity for a "full and fair review" of a
       claim and adverse benefit decision unless, among other things, the claims procedures,

              (iii) Provide that a claimant shall be provided, upon request and free of charge, reasonable access to, and
              copies of, all documents, records, and other information relevant to the claimant's claim for benefits. Whether
              a document, record, or other information is relevant to a claim for benefits shall be determined by reference
              to paragraph (m)(8) of this section;

1008          (iv) Provide for a review that takes into account all comments, documents, records, *1008 and other
              information submitted by the claimant relating to the claim, without regard to whether such information was
              submitted or considered in the initial benefit determination.

       29 C.F.R. § 2560.503-1(h)(2)(iii)-(iv). A document, record, or other information is "relevant" to a claimant's claim for benefits
       if such document, record, or other information,

              (i) Was relied upon in making the benefit determination, (ii) Was submitted, considered, or generated in the
              course of making the benefit determination ..., (iii) Demonstrates compliance with the administrative
              processes and safeguards required pursuant to paragraph (b)(5) of this section in making the benefits
              determination, or (iv) ... constitutes a statement of policy or guidance with respect to the plan ....

       29 C.F.R. § 2560.503-1(m)(8). In order for the claims procedures to be reasonable, 29 C.F.R. § 2560.503-1(b)(5) requires
       that the claims procedures must, "contain administrative processes and safeguards designed to insure and to verify that
       benefit claim determinations are made in accordance with governing plan documents and that, where appropriate, the plan
       provisions have been applied consistently with respect to similarly situated claimants."

       It is undisputed in this case that Defendant did not provide Plaintiff with examples of how Defendant interpreted the terms of
       the policy with respect to similar situated persons seeking benefits, or examples of persons whom Defendant previously
       deemed to be either salespersons or salaried employees under the policy, even though that information was requested by
       Plaintiff on numerous occasions. Sharp Decl., ¶¶ 4-6, 8, 11, 13. Defendant failed to address Plaintiff's request for examples
       several times, before informing Plaintiff that "[u]nfortunately, we cannot disclose to you data referencing other claimants."
       Sharp Decl., Ex 12. Defendant did not offer or provide Plaintiff examples of similar situated persons which redacted
       potentially personal or confidential information, and there is no evidence before the Court which would permit an inference
       that Defendant sought to or considered its duty to interpret the policy consistently when it interpreted the policy with respect
       to Plaintiff's claim. See 29 C.F.R. §§ 2560.503-1(b)(5), (m)(8). The Court concludes that Defendant's failure to provide
       Plaintiff with requested information and to consider whether it was interpreting the insurance policy consistently during
       Plaintiff's benefits determination requires this Court to temper the abuse of discretion standard of review with a fair amount
       of skepticism. See Abatie, 458 F.3d at 972.

       In addition to failing to follow ERISA review requirements in full, the Court notes that Defendant advocated a different
       interpretation of similar "covered monthly earnings" language in a case before the Court of Appeal for the Fifth Circuit, and
       the Court concludes that this fact also requires the Court to temper with skepticism the abuse of discretion standard under
       the facts of this case. In Keszenheimer v. Reliance Standard Life Ins. Co., 402 F.3d 504 (5th Cir.2005), Defendant took the
       position that salary was fixed compensation paid regularly, as opposed to Defendant's position in this case that salary is a
       fixed method of calculating compensation. Defendant argued in Keszenheimer that an income which fluctuates month-to-
       month does not plainly fit the definition of monthly salary, which is contrary to the position Defendant advocates in this case.
       Id. at 507-09.

1009 After reviewing Abatie and the facts before the Court on summary judgment, *1009 the Court concludes that it must review
     Defendant's decision to deny Plaintiff benefits under the policy for an abuse of discretion tempered with an elevated degree
     of skepticism and scrutiny for the reasons stated above. See, e.g., Archuleta v. Reliance Standard Life Ins. Co., 504
     F.Supp.2d 876, 884-85 (C.D.Cal.2007). As established by other courts, "[a]n ERISA administrator abuses its discretion only
     if it (1) renders a decision without explanation, (2) construes provisions of the plan in a way that conflicts with the plain
     language of the plan, or (3) relies on clearly erroneous findings of fact." Wells v. Reliance Standard Life Ins. Co., CV 06-32-

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      M-DWM-JCL, 2007 WL 433280, *4, 2007 U.S. Dist. LEXIS 16885, *11 (D.Mont. Jan. 11, 2007) (citing Boyd v. Bell/Rozell
      NFL Players Retirement Plan, 410 F.3d 1173, 1178 (9th Cir.2005)).


      DISCUSSION

      In authorizing disability benefits for Plaintiff under the policy, Defendant deemed Plaintiff a salaried employee, and
      calculated Plaintiff's monthly benefit using Plaintiff's November, 2001, compensation of $8,578.41. Defendant concluded
      that Plaintiff was not a "salesperson" as that term is used in the policy's definition of "covered monthly earnings" because
      Plaintiff's job description was unlike that of a salesperson, and in Defendant's opinion, "an Anesthesiologist [is] not a
      salesperson." See Sharp Decl., Ex 14. Plaintiff immediately objected to Defendant's benefit calculation, and sought
      administrative review of the decision with the help of attorney Sharp. Thereafter, Defendant denied Plaintiff's administrative
      appeal on the grounds that Plaintiff could not be considered a salesperson under the policy. The question before the Court
      is whether Defendant abused its discretion by classifying Plaintiff as a salaried employee under the policy and denying
      additional benefits which Plaintiff requested.


      I. Standard for Reviewing ERISA Policy Language

      In order to determine whether Defendant abused its discretion in classifying Plaintiff as a salaried employee and denying
      benefits, the Court must examine and interpret the "plain language" of the insurance policy using developed principles of
      federal common law. See Canseco v. Construction Laborers Pension Trust for So. Calif., 93 F.3d 600, 606 (9th Cir.1996);
      Padfield v. AIG Life Ins. Co., 290 F.3d 1121, 1125 (9th Cir.2002). Under the federal common law of ERISA, a district court
      "interpret[s] terms in ERISA insurance policies in an ordinary and popular sense as would a person of average intelligence
      and experience." Padfield, 290 F.3d at 1125. It is established that "trustees abuse their discretion if they ... construe
      provisions of [a] plan in a way that clearly conflicts with the plain language of the plan." Canseco, 93 F.3d at 606; see also
      Johnson v. The Trustees of the Western Conf. of Teamsters, 879 F.2d 651, 654 (9th Cir.1989); Neathery v. Chevron Texaco
      Corp. Group Accident Policy, Case No. 05CV1883 JM (CAB), 2007 WL 2239195, *8, 2007 U.S. Dist. LEXIS 55351, *23
      (S.D.Cal. July 31, 2007). Where an ERISA plan administrator is granted discretion to interpret insurance policy language
      and a Plaintiff challenges the administrator's interpretation, the question the Court must ask is not "whose interpretation of
      the plan documents is most persuasive, but whether the [plan administrator's] interpretation is unreasonable." Canseco, 93
      F.3d at 606 (citation omitted).


      II. Whether Defendant Abused Its Discretion in Interpreting Policy Language

1010 On May 9, 2002, Defendant determined that Plaintiff was totally disabled. *1010 Sharp Decl., Ex. 2. Pursuant to the
     insurance policy, Plaintiff was entitled to a monthly benefit equal to 60% of his "Covered Monthly Earnings," less other
     income benefits. Sharp Decl., Ex. 1 at 6, 18. The policy defined "Covered Monthly Earnings" as:

              "Covered Monthly Earnings" means the insured's monthly salary received from you on the day just before
              the date of Total Disability, prior to any deductions to a 401(k) plan. Covered Monthly Earnings do not include
              commissions, overtime pay, bonuses or any other special compensation not received as Covered Monthly
              Earnings. However, for a salesperson, "Covered Monthly Earnings" will include commissions received from
              you averaged over the lesser of:

              (1) the number of months worked; or

              (2) the 24 months just prior to the date Total Disability began.

              If hourly paid employees are insured, the number of hours worked during a regular work week, not to exceed
              forty (40) hours per week, times 4.333, will be used to determine Covered Monthly Earnings. If an employee
              is paid on an annual basis, then the Covered Monthly Earnings will be determined by dividing the basis
              annual salary by 12.

      Sharp Decl., Ex. 1 at 8.

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      Defendant contends that Plaintiff's "Covered Monthly Earnings" were his "monthly salary" received on the day just before
      Plaintiff became totally disabled. Defendant contends that Plaintiff cannot be considered a salesperson because (1) Plaintiff
      did not sell anything while employed by ASMG, (2) Plaintiff received a monthly salary based on a fixed method of
      calculation, and (3) Plaintiff never received compensation which could be considered a commission. Plaintiff contends that
      he did not receive a monthly salary while working for ASMG and that he should have been classified as a salesperson
      under the plain language of the policy because his compensation severely fluctuated from month to month depending on
      how much he worked. Plaintiff asserts that his compensation regime was more closely akin to that of a commissioned
      salesperson than a salaried employee. Plaintiff contends that he is entitled to "Covered Monthly Earnings" equal to the
      average of all his commissions received over the "24 months just prior to the date Total Disability began." Sharp Decl., Ex. 1
      at 8.

      The policy specifically provides four alternative definitions of "Covered Monthly Earnings." Sharp Decl., Ex. 1 at 8. If an
      employee receives a "monthly salary," "Covered Monthly Earnings" means the monthly salary received on the day before
      total disability. Sharp Decl., Ex. 1 at 8. If an employee is a salesperson, "Covered Monthly Earnings" means the employee's
      salary plus commissions earned over either the previous 24 months before disability or the total number of months worked.
      Sharp Decl., Ex. 1 at 8. Finally, if an employee is paid hourly, "Covered Monthly Earnings" means the number of hours
      worked during an average week times 4.33, and if an employee is paid annually, "Covered Monthly Earnings" means the
      base annual salary divided by twelve. Sharp Decl., Ex. 1 at 8. Here, the parties agree that Plaintiff was neither paid annually
      nor hourly, and thus the question before the Court is whether Defendant's decision to classify Plaintiff as a salaried
      employee as opposed to a salesperson was an unreasonable interpretation of the policy.

      In including four alternative definitions for "Covered Monthly Earnings," the policy as a whole intended to ensure that
     disability benefits for individual employees fairly stemmed from their average compensation for any given month or week.
1011 *1011 Where an employee was paid a fixed monthly salary, that salary was used as "Covered Monthly Earnings." However,
     where an employee did not receive a fixed monthly salary, and instead was paid according to sales made or hours worked,
     the policy clearly provided that the employee should receive a monthly benefit which took into account and factored in
     fluctuations in earnings from month-to-month and week-to-week. The policy ensured that a disabled hourly employee would
      not be without benefits because he was on vacation the week preceding his disability, and a salesperson paid in part based
      on sales would not be penalized simply because he made no sales the month before becoming totally disabled. Similarly,
      the policy provided that an employee paid once a year would receive benefits equal to 1/12 of his yearly salary, thus
      ensuring that the annually paid employee would receive a monthly benefit commensurate to his work and the benefits
      received by other similarly disabled employees who had been paid at regular intervals. The Court finds that, when
      interpreted in "an ordinary and popular sense as would a person of average intelligence and experience," the varied
      definitions of "Covered Monthly Earnings" protected disabled employees benefits by ensuring that those with fluctuating
      monthly or weekly compensation which have their benefits calculated by looking at greater periods of time than simply the
      day, week, or month before total disability. See Padfield, 290 F.3d at 1125.

      "Salary" is commonly defined as a "fixed compensation for services, paid on a regular basis." Order of April 29, 2004 at 10
      (citing Webster's II New College Dictionary 226 (3d ed. 2001)); see also Keszenheimer v. Reliance Standard Life Ins. Co.,
      402 F.3d 504, 508 (5th Cir.2005) ("Salary is fixed compensation paid regularly (as by the year, quarter, month, or week) for
      services."). In this case, Plaintiff's monthly compensation was not fixed, and, in fact, fluctuated significantly depending on a
      number of factors, some of which were out of Plaintiff's control. Joas Decl., ¶¶ 4, 6. Accordingly, the Court concludes that it
      is not reasonable to find that Plaintiff received a "monthly salary" as that term is used in the policy. This conclusion comports
      with that of the Court of Appeal for the Fifth Circuit's conclusion in Keszenheimer v. Reliance Standard Life Ins. Co., where
      the Court held that,

              Compensation paid ad hoc for working discrete blocks of time—such as an hourly wage—is not typically
              considered salary. Not unlike an hourly wage earner, Keszenheimer's per diem and auto allowance
              compensation were not fixed, but were paid only for the days that he worked offshore. Given the fluctuation
              in income day-to-day and month-to-month, this does not fit the plain meaning of `monthly salary' as
              contemplated in the policy and as commonly understood.

      Keszenheimer, 402 F.3d at 508. Indeed, Plaintiff's compensation, paid on a fluctuating basis and based on his work for
      "discrete blocks of time," is not fixed, and does not fit within the plain meaning of "monthly salary" as used in the insurance
      policy. See Sharp Decl., Ex. 1 at 8.

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       Defendant contends that Plaintiff received a monthly salary because the method of calculating Plaintiff's compensation was
       fixed. However, as noted by this Court previously, salary is generally defined as "fixed compensation," which is not the same
       as "a fixed method of compensation." Order of April 29, 2004 at 10. Furthermore, as noted in Keszenheimer, one of the key
       characteristics of salary is that it does not fluctuate. Keszenheimer, 402 F.3d at 508. Under the facts of this case, it is clear
1012 that Plaintiff's monthly compensation *1012 fluctuated significantly—Plaintiff earned $22,799.05 in September of 2000, and
     only $4,915.79 in February of 2001.

       After interpreting the pertinent policy language in this case, the Court concludes that Plaintiff did not receive a "monthly
       salary," as that term is used in the policy. Rather, after reviewing the method in which ASMG compensated Plaintiff, the
       Court concludes that Plaintiff's monthly compensation regime is akin to commissions earned by salespersons. Plaintiff in
       effect sold his services to ASMG, allowing ASMG to bill and collect from patients and pay Plaintiff a percentage. Joas Decl.,
       ¶¶ 4-6. Plaintiff only received compensation when he sold and performed medical services. If Plaintiff did not work, Plaintiff
       was not paid.

       Under the policy at issue in this case, a salesperson's covered monthly earnings include "commissions." Sharp Decl., Ex. 1
       at 8. "Commission" is commonly defined as "a fee or percentage paid to a salesperson or agent for his or her services."
       Order of April 29, 2004 (Doc. # 34) at 9-10; see also Keszenheimer, 402 F.3d at 510. Here, not only did Plaintiff in effect sell
       his services to ASMG, ASMG paid Plaintiff according to a formula "dependent upon the amount billed and collected by
       ASMG for services which Plaintiff rendered on ASMG's behalf." Joas Decl., ¶ 4. Furthermore, before paying Plaintiff, ASMG
       deducted an administrative fee based upon a "percentage of the amount that ASMG billed and collected," which percentage
       varied over the years and effected Plaintiff's compensation. Joas Decl., ¶ 4.

       After reviewing and interpreting the policy language as a whole in "an ordinary and popular sense as would a person of
       average intelligence and experience" see Padfield, 290 F.3d at 1125, the Court concludes that under the facts of this case,
       Defendant's decision to classify Plaintiff as a salaried employee "construe[d] provisions of the plan in [a] way that conflict[ed]
       with the plain language of the plan," and was unreasonable and an abuse of discretion. Wells, CV 06-32-M-DWM-JCL, 2007
       WL 433280, *4, 2007 U.S. Dist. LEXIS 16885, *11 (D.Mont. Jan. 11, 2007) (citing Boyd v. Bell/Rozell NFL Players
       Retirement Plan, 410 F.3d 1173, 1178 (9th Cir.2005)); see also Canseco, 93 F.3d at 606; Johnson v. The Trustees of the
       Western Conf. of Teamsters, 879 F.2d 651, 654 (9th Cir.1989); Neathery v. Chevron Texaco Corp. Group Accident Policy,
       Case No. 05CV1883 JM (CAB), 2007 WL 2239195, *8, 2007 U.S. Dist. LEXIS 55351, *23 (S.D.Cal. July 31, 2007).


       CONCLUSION

       Under the facts of this case Plaintiff's "Covered Monthly Earnings" were equal to Plaintiff's average compensation received
       during the "24 months just prior to the date Total Disability began." Sharp Decl., Ex. 1 at 8. After reviewing the declarations
       and evidence submitted, Plaintiff's average compensation for the 24 months just prior to the date of total disability was
       $14,469.17. See Joas Decl., ¶ 6. Thus, Plaintiff's monthly benefit should have been calculated as follows:

          Monthly Eligible Salary @
           60% [60% of $14,469.17]             $8,681.50
          Less Retirement Pension              $1,500.00
          Less CA State Disability             $2,123.33
                                               _________
          Monthly Benefit                      $5,058.17

       See, e.g., Joas Decl., Ex. B. Defendant calculated Plaintiff's monthly benefit using Plaintiff's November, 2001, compensation
       of $8,578.41, and thus concluded that Plaintiff was entitled to $1,523.72 per/month. The Court concludes that Defendant
       abused its discretion in calculating Plaintiff's monthly benefit.

       It is hereby ORDERED that:

1013          *1013 (1) Plaintiff's motion for summary judgment (Doc. # 59) is GRANTED.

              (2) Defendant's motion for summary judgment (Doc. # 57) is DENIED.



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    Plaintiff shall submit a proposed judgment to the Court within 15 days of this Order. Defendant may file objections to the
    proposed judgment within 15 days of receipt of Plaintiff's proposed judgment.

    IT IS SO ORDERED.



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